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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
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 Counsel to the Plan Administrator

 In re:                                                                Chapter 11

 BED BATH & BEYOND INC., et al.,1                                      Case No. 23-13359 (VFP)

                                   Debtors.                            (Jointly Administered)

                                                                       Hearing Date: May 7, 2024
                                                                                     at 10:00 a.m.


     SUPPLEMENTAL OPPOSITION OF THE PLAN ADMINISTRATOR TO AMENDED
         MOTION FOR RELIEF FROM THE AUTOMATIC STAY (11 U.S.C. § 362)




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s claims and noticing agent at https://restructuring.ra.kroll.com/bbby.


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           Michael Goldberg, in his capacity as the Plan Administrator (the “Plan Administrator”) to

 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.)1 and 73 affiliated debtors (the

 “Debtors”), files this supplemental opposition (the “Supplemental Opposition”) to the Amended

 Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362 and Request for Waiver of

 14 Day Stay Imposed by Bankruptcy Rule 4001(a)(3) [Docket No. 2723] (the “Amended Motion”)

 filed on behalf of Penelope and Joseph Duczkowski (“Movants”).2 In support of the Supplemental

 Opposition, the Plan Administrator states as follows:3

                                        I.        INTRODUCTION4

           1.        Penelope Duczkowski is personal injury claimant who alleges she was injured

 when a wok fell on her foot in a Bed Bath & Beyond store in New Jersey in November of 2020.5

 In the lawsuit that Movants filed against debtor Bed Bath & Beyond, Inc. (“BBB”) in February

 of 2022 in the Superior Court of Union County, New Jersey (Case No. UNN-L-000580-22) (the

 “State Court Action”), Ms. Duczkowski alleges actual damages “in excess of $50,000.00,” as

 does her husband, Joseph Duczkowski, for loss of consortium.6 The State Court Action was

 stayed by the Debtors’ chapter 11 filings on April 23, 2023 (the “Petition Date”). Three days

 later, counsel to BBB filed a Notice of Filing of Bankruptcy in the State Court Action.7 On June

 23, 2023, the State Court Action was dismissed “without prejudice subject to reinstatement . . . if


 1 Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
 was filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly
 known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833
 DOS ID 315602].
 2 Movants filed their initial Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362 [Docket No.
 2679] on November 10, 2023. The Amended Motion was filed on November 28, 2023. The Plan Administrator
 filed a Limited Objection and Reservation of Rights [Docket No. 2760] on January 2, 2024 (the “Objection”).
 3 The facts in this Supplemental Opposition are supported by the Declaration of Michael Goldberg, which is
 attached hereto as Exhibit A (the “Goldberg Dec.”).
 4
   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Plan.
 5 See Certification of Counsel [Docket No. 2723-3-1], at 25.
 6 See Complaint (Exhibit A) to Certification of Counsel [Docket No. 2723-3].
 7 A true and correct copy of the Notice of Filing of Bankruptcy is attached as Exhibit 1 to the Goldberg Dec.

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 the Bankruptcy proceedings to do fully dispose of all the issues between the parties.”8 On August

 9, 2023 (one month after the General Bar Date),9 Movants filed a proof of claim (docketed as

 Claim No. 18851) against BBB as a general unsecured claim for $3,000,000.00 (the

 “Duczkowski Claim”).10

           2.        Pursuant to the Debtors’ Second Amended Joint Chapter 11 Plan (the “Plan”),

 which went effective on September 29, 2023, Movants hold a Class 6 General Unsecured Claim,

 that has not yet been Allowed.11 If Movants’ Claim is Allowed,12 they will be entitled to their

 pro rata share of the consideration that the Plan provides for Class 6 “in full and final

 satisfaction, compromise, settlement, release, and discharge of [their] Claim” (the “Class 6 Plan

 Treatment”).13

           3.        Pursuant to Article X.F of the Plan, like all other Creditors, Movants are:

                     enjoined and precluded, from and after the Effective Date through
                     and until the date upon which all remaining property of the
                     Debtors’ Estates vested in the Wind-Down Debtors has been
                     liquidated and distributed in accordance with the terms of the Plan
                     from taking any of the following actions against, as applicable, the


 8 A true and correct copy of the Order of Dismissal is attached as Exhibit 2 to the Goldberg Dec.
 9 Pursuant to the Order (I) Setting Bar Dates for Submitting Proofs of Claim, Including Requests for Payment under
 Section 503(b)(9), (II) Establishing Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative
 Claims Bar Date, (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving
 Notice Thereof, and (V) Granting Related Relief [Docket No. 584], July 7, 2023 as the date by which most Claims
 against the Debtors had to be filed (the “General Bar Date”).
 10 A true and correct copy of the Duczkowski Claim is attached as Exhibit 3 to the Goldberg Dec.
 11 On September 14, 2023, the Court entered the Findings of Fact, Conclusions of Law, and Order (I) Approving the
 Disclosure Statement on a Final Basis and (II) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath
 & Beyond Inc. and its Debtor Affiliates [Docket No. 2172] (the “Confirmation Order”), confirming the Second
 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Docket No. 2160] (as
 amended, the “Plan”). On the Effective Date, the Plan Administrator became the sole representative of the Wind-
 Down Debtors. Plan, Article IV, at § B.
 12 Pursuant to the Plan, the Plan Administrator currently has until September 30, 2024 to object to Claims, which
 date may be extended by the Court upon the request of the Plan Administrator. Plan, Article I.A, at § 28.
 13 Pursuant to the Plan, Class 6 includes all General Unsecured Claims, which are treated as follows, “In full and
 final satisfaction, compromise, settlement, release, and discharge of its Claim (unless the applicable Holder agrees to
 a less favorable treatment), each Holder of an Allowed General Unsecured Claim shall receive its Pro Rata share of
 (i) the Shared Proceeds Pool, only if such proceeds are available after all senior Claims (other than the DIP Claims
 and FILO Claims) are paid in full and (ii) any remaining Distributable Proceeds available after payment in full of all
 senior Claims.” Plan, Article III.B (6).

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                     Debtors, Wind-Down Debtors . . . : (1) commencing or continuing in
                     any manner any action or other proceeding of any kind on account
                     of or in connection with or with respect to any such Claims,
                     Interests, Causes of Action or liabilities; (2) enforcing, attaching,
                     collecting, or recovering by any manner or means any judgment,
                     award, decree, or order against such Entities on account of or in
                     connection with or with respect to any such Claims, Interests,
                     Causes of Action or liabilities . . . ; and (5) commencing or
                     continuing in any manner any action or other proceeding of any kind
                     on account of or in connection with or with respect to any such
                     Claims, Interests, Causes of Action or liabilities discharged,
                     released, exculpated, or settled pursuant to the Plan.

 Plan, Article X.F (the “Plan Injunction”) (emphasis added).

           4.        The Plan also provides for a “complete settlement, compromise, and release,

 effective as of the Effective Date, of Claims, Interests, and Causes of Action of any nature

 whatsoever . . . .” Plan, Article X.A (the “Plan Settlement”).14 It also provides for a “release and

 discharge” of Claims and Causes of Action against the Debtors as of the Effective Date. Plan,

 Article X.D (the “Plan Release”).15

           5.        Movants seek to modify the automatic stay or Plan Injunction “to be allowed to

 continue the State Court Action against the Debtor solely to recover against the Debtor’s

 insurers.” See Memorandum of Law [Docket 2723-2], at 5. Movants state that they “will not seek




 14Plan, Article X.A (“Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
 provided pursuant to the Plan . . . the distributions, rights, and treatment that are provided in the Plan shall be in
 complete settlement, compromise, and release, effective as of the Effective Date, of Claims, Interests, and Causes of
 Action of any nature whatsoever . . . whether known or unknown, against, liabilities of, Liens on, obligations of,
 rights against, and Interests in, the Debtors or any of their assets or properties, regardless of whether any property
 shall have been distributed or retained pursuant to the Plan on account of such Claims and Interests, including
 demands, liabilities, and Causes of Action that arose before the Effective Date . . . “).
 15 Plan, Article X.D. (“As of the Effective Date, and to the fullest extent allowed by applicable law, each Releasing
 Party is deemed to have released and discharged each of the Debtors and Released Parties from any and all Claims
 and Causes of Action, whether known or unknown, including waiving any and all rights any of the foregoing parties
 may have under any applicable statute, including but not limited to . . . or any doctrine or principle of law restricting
 the release of claims that a releasor does not know or suspect to exist at the time of executing a release, which
 claims, if known, may have materially affected the releasor’s decision to give the release, that such Entity would
 have been legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
 arising from, in whole or in part, the Debtors . . . .”).

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 enforcement of any judgment against the Debtor or its assets other than the Policy.” Id. Movants

 argue that the Court has discretion to modify the Plan Injunction on the grounds that:

                     [T]he Plan Injunction constitutes an extreme and unnecessary
                     hardship upon them because it prohibits them from continuing the
                     State Court Action in order to recover from the Debtor’s insurers.
                     Conversely, the only hardship to the Debtor in modifying the Plan
                     Injunction would be that the Debtor would need to devote time
                     cooperating with its insurer(s) to defend the State Court Action, a
                     harm which is dwarfed by the harm which will be suffered by
                     [Movants] if they cannot recover from the Debtor’s insurers.


 Id. at 9-10.

           6.        As is set forth below, Movants have failed to establish “cause” for relief from the

 Plan Injunction. Debtors have no insurance for any personal injury claim that is liquidated for

 under $1 million, and the cost to defend this suit and others like it (should the Court grant relief)

 will drain these administratively precarious estates in hundred cent dollars to the detriment of the

 estates’ other creditors and in violation of the expectations and priorities established pursuant to

 the Plan. Furthermore, Movants have not produced any evidence of the likelihood that they will

 succeed in establishing a claim above the $1 million self-insured retention. Why should other

 creditors pay to fund Movant’s gamble? Accordingly, the Court should deny the Motion.

                                          II.      ARGUMENT

 A.        Movants have not established “cause” to modify the Plan Injunction.

           7.        As a preliminary matter, on the Effective Date, the automatic stay of section 362

 was replaced by the Plan Injunction and is no longer in effect. See Moreno-Cuevas v. Town

 Sports Int'l, LLC (In re Town Sports Int'l), 2023 U.S. Dist. LEXIS 227402, *12 (D. Del. Dec. 21,

 2023). Accordingly, the Plan Administrator will treat the Motion as requesting relief from the

 Plan Injunction. Id. (treating a request for relief from the automatic stay as a request for relief

 from a plan injunction); In re SquareTwo Fin. Servs. Corp., 2017 Bankr. LEXIS 2570, at *10

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 (Bankr. S.D.N.Y. Sept. 11, 2017) (same); Grayson v. WorldCom, Inc. (In re WorldCom, Inc.),

 2006 U.S. Dist. LEXIS 55284, at *24 (S.D.N.Y. Aug. 4, 2006) (same).

           8.        Courts considering whether to grant relief from a plan injunction apply a “cause”

 standard, incorporating the same “cause” analysis as they apply for section 362. In re Town

 Sports Int'l, 2023 U.S. Dist. LEXIS 227402, at *12; Grayson v. WorldCom, Inc. (In re

 WorldCom, Inc.), 2006 U.S. Dist. LEXIS 55284, at *245. Courts in the Third Circuit consider

 three factors when balancing competing interests of debtors and movants in connection with stay

 relief: (1) whether any great prejudice to either the bankruptcy estate or the debtor will result

 from continuation of the civil suit; (2) whether the hardship to the nonbankruptcy party by

 maintenance of the stay considerably outweighs the hardship to the debtor; and (3) the

 probability of the creditor prevailing on the merits. In re Town Sports Int'l, 2023 U.S. Dist.

 LEXIS 227402, at *13; In re Trump Ent. Resorts, Inc., 526 B.R. 116, 120 (Bankr. D. Del. 2015);

 In re W.R. Grace & Co., 2007 Bankr. LEXIS 1214, *8 (Bankr. D. Del. Apr. 13, 2007); Izzarelli

 v. Rexene Prods. Co. (In re Rexene Prods. Co.), 141 B.R. 574, 576 (Bankr. D. Del 1992).

                     (i) Continuing the State Court Action will greatly prejudice the estates
                         because the Debtors are self-insured for any claim under $1 million and
                         granting relief will result in the estates being drained by prohibitive
                         Defense Costs.

           9.        The first and most important factor considered by courts is prejudice to the

 bankruptcy estate. In re Town Sports Int'l, 2023 U.S. Dist. LEXIS 227402, at *13. Cause exists

 only if harm to Movants by maintenance of the Plan Injunction “considerably outweighs” the

 harm to the Debtors from the lifting of the Plan Injunction. Id. It does here.

           10.       The Debtors are their own insurer for all personal injury claims under $1 million.

 The general liability policy that is applicable to the Duczkowski Claim is GL 4062767 (the

 “Policy”) with Safety National Casualty Corporation (“Safety National”). The Policy was


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 assumed by the Debtors pursuant to the Plan, and the Confirmation Order imposes upon the Plan

 Administrator duties of cooperation with Safety National.16

           11.       Pursuant to a Self-Insured Retention Endorsement (the “SIR Endorsement”), the

 Policy has a $1 million per occurrence self-insured retention (the “SIR”). See SIR Endorsement

 at 1.17 The SIR Endorsement provides:

                     SELF-INSURED RETENTION. Our obligation to pay damages,
                     medical expenses and “defense costs” to, or on behalf of, the
                     “insured” applies only to that portion of the “Ultimate Net Loss” in
                     excess of the applicable Self-Insured Retention shown in the above
                     Schedule, subject to any below described Aggregate Self-Insured
                     Retention Amount. After you have paid the amount of the
                     applicable Self-Insured Retention, we will pay on your behalf, or
                     reimburse you for paying such damages, medical expenses or
                     “defense costs” in excess of the applicable Self-Insured Retention.
                     Our payment of damages and medical expenses shall be subject to
                     the Limits of Insurance shown in the Declarations for the Coverage
                     Form. The amount that would otherwise be payable by us as
                     damages, medical expenses or “defense costs” under the above
                     described LIABILITY COVERAGES, will be reduced by the
                     amount of the Self-Insured Retention.

 SIR Endorsement § I(A), at 1 (emphasis added).18

 16 Plan, Article V.D. The Confirmation Order provides: As proscribed under the Safety National Insurance Policies,
 after the Effective Date, the Debtors and/or Wind-Down Debtors, through the Plan Administrator, shall maintain a
 duty to cooperate and assist in the defense of any claim, proceeding, or suit against the Debtors for damages payable
 by the Safety National Insurance Policies. Pursuant to Bankruptcy Rule 9001(5), the Plan Administrator shall be
 designated as the person authorized to act on behalf of the Debtors (or, after the Effective Date, the Wind-Down
 Debtors) in defense of any claim, proceeding, or suit against the Debtors for the purpose of liquidating the claim to
 seek to collect against the Safety National Insurance Policies. The Plan Administrator shall be further authorized to
 assist in the defense of such claims including by, though not limited to, providing documents and information
 required in the defense of any claims, proceeding, or suit, and signing interrogatory answers and other discovery
 responses. The Plan Administrator shall be authorized to execute such discovery materials based upon knowledge
 and information gained from the review of documents or other information in the Plan Administrator’s possession in
 the Plan Administrator’s actual knowledge and not based on personal knowledge of the Plan Administrator. The
 intent of this paragraph is to provide adequate provisions of the Debtors’ defense obligations under the Safety
 National Insurance Policies, and nothing in this paragraph shall alter, modify, amend, impair or prejudice the legal,
 equitable or contractual rights, obligations, and defenses of the Debtors (or, after the Effective Date, the Wind-Down
 Debtors) or the Safety National Parties under the Safety National Insurance Policies.” Confirmation Order at ¶ 145.
 17 A true and correct copy of the SIR Endorsement is attached as Exhibit 4 to the Goldberg Dec.

 18 “Defense Costs” are “Expenses directly allocable to specific claims and shall include but not be limited to all
 Supplementary Payments as defined under the policy; all court costs, fees and expenses; costs for all attorneys,
 witnesses, experts, depositions, reported or recorded statements, summonses, service of process, legal transcripts or
                                                                                                        (Continued…)

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           12.       The SIR Endorsement continues:

                     SELF-INSURED RETENTION PER OCCURRENCE. If a Per
                     Occurrence Self-Insured Retention amount is shown in the above
                     Schedule, it is a condition precedent to our liability under the
                     Coverage Form that you make actual payment of all damages,
                     medical expenses and “defense costs” for each “occurrence” or
                     offense until you have paid the Self-Insured Retention amount
                     and “defense costs” equal to the applicable Per Occurrence
                     amount shown in the Schedule, subject to the provisions of the
                     “Aggregate Self-Insured Retention Amount” provision noted below,
                     if applicable.


 SIR Endorsement § I(A)(1), at 1-2 (emphasis added).

           13.       The SIR Endorsement further provides, “With respect to any claim or “suit” under

 this policy that has been tendered to us and that may exceed the applicable Self-Insured

 Retention amount, we may pay any or all of the Self-Insured Retention amount and “defense

 costs” on your behalf to defend or to effect settlement of such claim or “suit”. If we do so, you

 must promptly reimburse us for our payment.” Id. § I(C), at 2 (emphasis added).19 It continues,

 “You may not settle any claim or “suit” that exceeds [$1 million] without our written permission

 to do so. If you fail to obtain our written permission, we shall have no obligation to provide

 coverage for that claim or “suit” under this policy.” Id. § II(D)(1), at 3.

           14.       Accordingly, Movants are seeking relief from the Plan Injunction to liquidate a

 claim in the State Court Action, the first $1 million of which can only be recovered against the




 testimony, copies of any public records; alternative dispute resolution; interest; investigative services, medical
 examinations, autopsies, medical cost containment; declaratory judgment, subrogation and any other fees, costs or
 expenses reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under the
 policy. SIR Endorsement § III, at 5.
 19 In a seemingly contrary provision, the SIR Endorsement provides, “We shall have the right but not the duty to
 associate ourselves in or assume control of the defense of any claim or “suit” which in our sole judgment is likely to
 exceed [$1 million]. If we do avail ourselves of that right, you must cooperate with us. In the event we incur any
 “defense costs” in the exercise of our right to defend any claim or “suit,” you shall not be liable to reimburse us for
 those “defense costs”. SIR Endorsement § II(D)(2), at 3 (emphasis added).

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 Debtors, as their own insurers. Because Defense Costs (including attorney’s fees) are included

 in the $1 million SIR, the Plan Administrator would have to use very limited estate resources to

 defend the State Court Action.

           15.       From 2012-2020 (the years for which the personal injury cases were fairly

 developed and might provide an accurate predictor of costs associated with cases that were

 pending on the Petition Date), the Debtors paid $12.14 million in attorney’s fees related to

 personal injury claims, or an average of $1.52 million per year. During that time, only 3 cases

 exceeded the $1 million SIR (inclusive of Defense Costs and settlement/judgment amounts).

           16.       The State Court Action was still in the early stages before it was dismissed on

 account of the Debtors’ bankruptcy.20 If the Court grants relief from the Plan Injunction to permit

 the State Court Action to move forward, the Plan Administrator will have choose whether to (a)

 defend the case (which will, absent settlement, involve motion practice, discovery, pretrial

 proceedings and trial), causing the estates to incur tens or even hundreds of thousands of dollars

 in attorneys’ fees; or (b) not defend the case in which case, either (i) Movants will take a default

 judgement against the Debtors (exposing the estates to a claim by Safety National that it has

 breached the terms of the Policy); or (ii) Safety National will step in to defend and it may then

 assert an administrative claim against the Debtors.21 Under any possible scenario, the estates risk


 20 A true and correct copy of the Case Management Order issued in the State Court Action is attached as Exhibit 5
 to the Goldberg Dec.
 21 In connection with Safety National’s Objection to Alfred Zeve’s Motion For Order Modifying The Automatic Stay
 And Plan Injunction To Allow Movant To Continue Pending Litigation Against The Debtor, To Recover Solely
 Against Debtor’s Insurer, Waiving The Provisions Of Fed. R. Bankr. P. 4001 (A) (3) And For Related Relief
 [Docket No 2977] (the “Zeve Objection”), Safety National states, “Debtors are obligated under the Safety National
 Insurance Policies to defend or resolve claims below the SIR limit. The Safety National Insurance Policies, among
 other things, also obligate Debtors to indemnify and reimburse Safety National for any defense costs Safety National
 incurs below the SIR limit. To the extent the Plan Injunction is lifted for Zeve to pursue the Zeve Claim, the Estate
 will either (i) be required to defend the Zeve Claim in the State Court Lawsuit, or (ii) if the Estate chooses not to
 defend, will incur administrative claim obligations to Safety National for its defense of the Zeve Claim in the State
 Court Lawsuit.” Zeve Objection at 6-7.


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 being drained for the benefit of two individuals who hold, at best, a disputed, unliquidated Class

 6 General Unsecured Claim.22

           17.       Each dollar that the Plan Administrator spends in Defense Costs is a dollar that is

 contractually obligated to senior creditors under the Waterfall Recovery mechanism in confirmed

 Plan. See Plan, Article IV.B. Moreover, should the Plan Administrator be able to collect

 sufficient Assets to make even a de minimis distribution to Holders of Allowed Class 6 General

 Unsecured Creditors, their pro rata recoveries will also be diminished by the money that the

 estates have had to spend in Defense Costs. Why should other creditors pay for Movants attempt

 to hit-the-jackpot by getting an over-the-SIR judgment, especially where, as here, as the Plan

 Administrator has previously noted the estates may well be administratively insolvent.23

           18.       Furthermore, the Plan Administrator will have to spend time and incur expenses

 to respond to and defend against the State Court Action as he and his small staff are trying to

 wind-down the Debtors and make distributions to creditors. Finally, granting relief from the Plan

 Injunction to Movants will embolden other personal injury claimants to seek relief which will

 expose the estates to tens or hundreds of thousands of dollars in Defense Costs. On the Petition

 Date, approximately 55 personal injury cases were being litigated against the Debtors, 53 of

 which requested damages within the SIR of $1 million and two of which requested damages in

 excess of $1 million.

           19.       Numerous courts have denied relief from stay and/or plan injunctions to plaintiffs

 who wanted to move against the debtor’s insurers because the debtor’s estate would have to


 22 The Plan Administrator does not concede Safety National’s interpretation of the Policy or the SIR Endorsement.
 He reserves all rights, arguments, claims and defenses under the Policy and the SIR Endorsement.
 23 See Declaration of Michael Goldberg in Support of Motion for Order Extending Period to Object to Claims
 [Docket No. 2906], 5-6 (“Goldberg Dec. II”) (“Absent a significant reduction in the Asserted Administrative Claims
 and meaningful recoveries added to the Shared Proceeds Pool, under the distribution waterfall set forth in the Plan, it
 is unlikely that Allowed Administrative Claims will be paid in full.”).

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 incur defense costs or where the debtor was otherwise self-insured. In In re iHeartMedia, Inc.,

 2019 Bankr. LEXIS 1617 (Bankr. S.D.Tex. May 28, 2019), a creditor sought relief from the

 automatic stay/plan injunction to “proceed against insurance proceeds" in connection with a pre-

 petition personal injury action. As the court noted, “If that were the actual relief sought,

 [creditor] might prevail.” Id. at *6. However, the debtor’s general liability policy, which it had

 assumed in connection with plan confirmation, had a $3 million deductible. In denying relief

 from the stay/injunction, the court explained:

                     Because [the debtor] is liable for the $3,000,000.00 deductible on
                     any claim paid under its Insurance Policy, [creditor’s] attempt to
                     collect a claim against the Insurance Policy, would necessarily
                     invoke the reimbursement provisions of the contract. The Insurer
                     will not waive its reimbursement rights. Thus, [creditor’s] attempt
                     to collect against the Insurance Policy directly affects the
                     bankruptcy estate, which is barred under either the automatic stay or
                     the discharge injunction.

 2019 Bankr. LEXIS 1617, *12-13 (citations omitted). The court continued:

                      Although [creditor] characterizes its claim as a claim against the
                     insurance proceeds, that is simply incorrect. Its claim is against [the
                     debtor], the insured. Any claim necessarily invokes the Insurer’s
                     right to reimbursement from [the debtor], whether that payment is
                     required prior to claim payment under an SIR, or as reimbursement
                     under a deductible is irrelevant. . . .[T]he controlling question is
                     whether the litigation would place the financial burden solely on the
                     insurer or implicate the debtor. 993 F.2d at 54. The Insurance Policy
                     in this case, with its $3,000,000.00 reimbursable deductible falls
                     within the latter category, implicating the Debtor’s finances.
                     Accordingly, [creditor] has failed to carry its burden demonstrating
                     cause for relief from the automatic stay.


 2019 Bankr. LEXIS 1617, *15-16. In this case, the litigation puts the burden of up to $1 million

 in Defense Costs on the Debtors. It more than “implicates” the Debtors’ finances, it has the

 possibility of crushing them.




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           20.       In re SquareTwo Fin. Servs. Corp., 2017 Bankr. LEXIS 2570 (Bankr. S. D. N. Y.

 Sept 11, 2017), the bankruptcy court denied relief from the plan injunction to class action

 litigation claimants because, in part, the reorganized debtor would have been forced to use its

 own funds to defend. In that case, there were both reorganized debtors and debtors who were

 liquidating, and the court concluded that both would be prejudiced, noting:

                     Since no insurer has assumed responsibility to pay for the costs
                     and/or damages associated with the Counterclaims, if that litigation
                     goes forward, [Reorganized debtor-defendant] will be denied its
                     fresh start because it will be forced to use its own funds to defend
                     against the discharged claims. See In re Chemtura Corp., 09-11233-
                     JLG, 2016 Bankr. LEXIS 4056, at *56 (Bankr. S.D.N.Y. Nov. 23,
                     2016) (granting motion to enforce discharge injunction to bar post-
                     confirmation prosecution of discharged tort claims, even if only to
                     fix insurers liability under the policy, since the debtor "will be
                     denied its 'fresh start' because it will be obligated by [the policies]
                     to pay defense costs associated with the Benzene Lawsuits, which
                     are personal injury actions on account of discharged debts."). See
                     also In re WorldCom Inc., 2007 WL 841948, at *7 (finding seventh
                     Sonnax Factor weighed against movant because the "increased costs
                     associated with litigation in a separate forum would prejudice the
                     Reorganized Debtors."). [Liquidating debtor defendant] is in a
                     slightly different position since it may have access to Estate funds
                     in the Wind Down Account to underwrite costs associated with the
                     prosecution of the Counterclaims. Nonetheless, it will be no less
                     aggrieved if the Class Claimants get relief from the Plan Injunction.
                     That is because continued prosecution of the Counterclaims will
                     prevent the Dissolving Debtors' personnel from focusing on matters
                     relating to the wind down of the businesses and thereby delay the
                     prompt resolution of these cases. Cf. In re SunEdison, Inc., 557 B.R.
                     303, 307-08 (Bankr. S.D.N.Y. 2016) (denying lift stay motion in
                     part because holding otherwise would "divert the Debtors' resources
                     and personnel at a critical time in the case"). Finally, the holders of
                     the 1.5 Lien Lender Claims will also be prejudiced by the continued
                     prosecution of the Counterclaims and the use of Estate funds in
                     connection with that litigation, since any funds remaining in the
                     Wind Down Account after the Wind Down Costs are paid are
                     earmarked for their benefit. . . . Thus, application of Factor # 7
                     weighs against the Class Claimants.

 Id. at *21 (emphasis added). See also In re Residential Capital, LLC, 2012 Bankr. LEXIS 3624,

 at *16 (Bankr. S.D.N.Y. Aug. 7, 2012) (denying plaintiff's motion to lift automatic stay where no
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 insurer had assumed responsibility to pay for damages and allowing action to proceed would

 require debtors to pay damages directly from policy deductible); DePippo v. Kmart Corp., 335

 B.R. 290, 298 (S.D.N.Y. 2005) (denying relief from the plan injunction to personal injury

 claimants where the debtors (Kmart) had a $2 million self-insured retention and would be forced

 to incur the cost of litigation and stating, “Kmart does not maintain primary liability insurance.

 Its only insurance provides coverage above a two-million-dollar self-insured retention.

 (Therefore, because Kmart's debt has been discharged in bankruptcy, there is no money to cover

 plaintiff's claim. Moreover, if the action against Kmart were permitted to proceed, it would have

 to pay litigation costs, which is contrary to the fresh start policy of the Bankruptcy Code.”); In re

 EnCap Golf Holdings, LLC, 2008 Bankr. LEXIS 2146, at *12 (Bankr. D. N.J. Aug. 4, 2008)

 (“Because the Self-Insured Retention has not been exhausted, [insurance company] has no

 obligation to make payments under the [insurance policy] and [creditor’s] right to commence an

 arbitration against [insurance company] cannot be implemented. Accordingly, there is no cause

 to grant relief from the automatic stay in favor of [creditor].”).

           21.       In Houston v. Edgeworth (In re Edgeworth), 993 F.2d 51 (5th Cir. 1993), the

 court held that Bankruptcy Code section 524(e) does not prohibit a plaintiff from joining a

 discharged chapter 7 debtor in a wrongful death suit to pursue a recovery against the debtor’s

 insurer. In doing so, however, the court explained:

                     [The debtor] has not asserted that he will be required to pay the costs
                     of his defense against appellants' suit or that the insurance company
                     denied coverage or is defending under a reservation of rights. Such
                     threats to [the debtor’s] pocketbook might require a different
                     result under § 524. Thus, as long as the costs of defense are borne
                     by the insurer and there is no execution on judgment against the
                     debtor personally, section 524(a) will not bar a suit against the
                     discharged debtor as the nominal defendant.

 Id. at 54 (emphasis supplied).

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           22.       In In re CJ Holding Co., 2018 Bankr. LEXIS 2437 (Bankr. S.D.Tex. Aug. 15,

 2018), the bankruptcy court denied relief from the plan injunction in precisely the type of case

 foreshadowed by the Edgeworth court. In that case, the plaintiffs (who did not file a proof of

 claim against the debtors) sought post-confirmation relief from the plan injunction to pursue their

 pre-petition personal injury claims against the debtors’ insurers. The debtors’ primary general

 liability insurance had $1 million cap and a $1 million deductible. It also had a $5 million self-

 insured retention before the excess layer kicked in. The court explained:

                     The underlying tenet of the Fifth Circuit's holding is a balancing of
                     the financial fresh start policy underlying the bankruptcy process
                     with the limitation set forth in 11 U.S.C. § 524(e). See Greiner v.
                     Columbia Gas Transmission Corp. (In re Columbia Gas
                     Transmission Corp.), 219 B.R. 716, 720 (S.D. West Va. 1998). The
                     Court's analysis in Jones v. Pilgrim's Pride, Inc. is instructive on this
                     issue. 741 F. Supp. 2d 1272 (N.D. Ala. 2010). In denying the
                     plaintiff's request to pursue litigation claims solely for the purpose
                     of collecting insurance proceeds, the Pilgram's Pride Court noted
                     that there was effectively no primary insurance as the Debtor had a
                     large self-insured retention. Id. at 1277-1278. See also Columbia
                     Gas Transmission Corp., 219 B.R. at 720; DePippo v. Kmart Corp.,
                     335 B.R. 290, 298 (S.D.N.Y. 2005. The relevant facts are largely
                     undisputed. Mr. and Mrs. Nunez admit that they did not file a proof
                     of claim. No assertion is made that they are not bound by the terms
                     of the confirmed plan in this case. Rather, Mr. and Mrs. Nunez argue
                     that although the Liberty Policy has a $1 million deductible and that
                     a $5 million self-insured retention exists before any proceeds of the
                     excess policy are available to satisfy their claims, it is not clear that
                     the Debtors will have to actually pay those amounts. In essence, Mr.
                     and Mrs. Nunez argue that the Edgeworth exception should apply
                     because the Debtors could choose to breach their contractual
                     obligations and refuse to pay the $1 million deductible or the $5
                     million self-insured retention. The argument fails to address the fact
                     that Liberty is holding the Debtor's cash as security for its
                     performance. The Court is convinced that this is the type of situation
                     recognized by the Edgeworth Court. In this case, C&J Well is
                     required to pay the first million, and five of the following six million
                     in related expenses/recoveries. No legitimate argument exists that
                     such circumstances would not frustrate C&J Well's discharge and
                     the fresh start policy engrafted into the Bankruptcy Code. Mr. and
                     Mrs. Nunez also argue that the fact that the Debtors' relevant

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                     insurance agreements were assumed under the confirmed plan
                     requires a different analysis. The Court disagrees. The Edgeworth
                     balancing remains unchanged. See In re Chemtura Corp., 2016
                     Bankr. LEXIS 4056, at *61-62 (Bankr. S.D.N.Y. Nov. 23, 2016).

 Id. at *8-10. See also In re Jet Florida Systems, Inc., 883 F.2d 970, 976 (11th Cir. 1989) (holding

 that § 524(a) does not preclude actions against a discharged debtor as a nominal defendant so

 plaintiff can purse an insurer but stating, “We are, however, concerned by the prospect that

 reversing the decision of the bankruptcy court in this case would frustrate the fresh-start policy

 embodied in the Code in one way -- by requiring the bankrupt to spend sums in defending this

 lawsuit. We are cognizant that in actions such as these, the cost of litigation can sometimes

 surpass the actual amount of liability. Therefore, to allow suits of this nature to go forward could

 possibly have the effect of draining funds that would more properly be used in the revitalization

 of the reorganized corporation.”); Greiner v. Columbia Gas Transmission Corp. (In re Columbia

 Gas Transmission Corp.), 219 B.R. 716, 721 (S.D.W.V. 1998) (holding that permitting plaintiff

 to pursue her negligence suit against discharged debtor would violate the Bankruptcy Code's

 fresh-start policy because “ [the debtor] has provided evidence that it, not [insurer], is

 responsible for costs of defending the lawsuit. Requiring [the debtor] to pay the costs of litigating

 its liability on Greiner's claim, which costs could be quite high, would violate the fresh-start

 policy of the Bankruptcy Code.”); Perez v. Cumberland Farms, Inc., 213 B.R. 622, 624 (D.

 Mass. 1997) ("Any economic loss to the Debtor would . . . result in the violation of the statutory

 injunction of 11 U.S.C. § 524(a)).

           23.       The Bed, Bath & Beyond cases involve a liquidation; therefore, there is no

 reorganized debtor’s “fresh start” to protect. There is, however, the expectation of creditors that

 is represented in the contract called the Plan. To allow these suits to go forward will open the

 floodgates and the Defense Costs will drain the estates resources (coming out of the secured

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 creditor’s collateral and if there is anything left over after its Allowed Claims are satisfied, then

 the pockets of other creditors who share under the Waterfall Recovery mechanism), all for the

 benefit of the Holders of (at best) a Class 6 General Unsecured Claim that will, in the end, likely

 fall within the SIR, and therefore, no insurance will be available. How many dollars must the

 estate (aka other creditors) spend to fund this gamble for the Movants? Furthermore, the Plan

 Administrator will have to spend time and incur expenses to respond to and defend against the

 State Court Action as he and his small staff are trying to wind-down the Debtors and make

 distributions to creditors.

                     (ii) The hardship to the Movants by maintenance of the Plan Injunction does
                          not considerably outweigh the hardship to the bankruptcy estates.

           24.       The harm to Movants from keeping the Plan Injunction in place is that they are

 deprived of the ability to potentially get their claim over $1,000,000, so they can obtain some

 recovery from Safety National. The possibility of Movants’ Claim exceeding $1 million is, as

 noted above, very low. Eight years of loss data show only 3 claimants have pierced the $1

 million settlement mark. And, as noted above, their gamble comes on the backs of other creditors

 who bargained for the Debtors’ assets to be distributed in accordance with the Plan. This factor

 too weighs against modifying the Plan Injunction.

                     (iii) Movants have not established any likelihood of prevailing on the merits.

           25.       This factor weighs against modifying the Plan Injunction as Movants have

 provided no evidence of the probability of his success on the merits of the State Court Action,

 much less any evidence that their Claim will exceed the SIR.

           26.       As the harm to the estates and other Creditors far outweighs the potential and

 speculative prejudice to the Movants, the Court should deny relief from the Plan Injunction.




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 B.        The Plan Injunction is enforceable against Movants.

           27.       Movants assert that the Plan Injunction is a de facto discharge (forbidden to a

 liquidating debtor under 11 U.S.C. § 1141(d)(3)) and is unenforceable against them.

 Memorandum of Law, at 8-9. Not so. A temporary injunction, like the Plan Injunction, which

 lasts only so long as the liquidating debtor has assets does not affect a de facto discharge and is

 within the court’s authority to issue pursuant to Bankruptcy Code section 105(a). As Judge

 Greenblatt explained in In re Kabbage Inc., 2023 Bankr. LEXIS 671 (Bankr. D. De. March 15,

 2023) when approving a similar plan injunction:

                     While the plan provides for the liquidation of the debtors, it does not
                     create a separate post-confirmation liquidating trust that would be
                     eligible to take free and clear title to the debtors' assets under §
                     1141(c). Instead, those assets remain with the legal entities that
                     consisted of the prepetition debtors, which are referred to after the
                     effective date of the plan as the Wind Down Estates. Those entities
                     are directed by the Wind Down Officer. Because the legal entities
                     that made up the prepetition debtors will not end up as corporate
                     shells upon the effective date but will instead hold assets that are
                     intended to be distributed to creditors under the plan, the parties had
                     good reason to protect the debtors and the Wind Down Estates from
                     the holders of prepetition claims who might seek to defeat the
                     operation of the plan by taking action against the post-bankruptcy
                     entities on account of their prepetition claims.


 Id. at *3. The court continued:

                     The debtors here, of course, do not need injunctive protection once
                     they no longer have any assets. Their only concern was preventing
                     creditors from acting against the post-effective date entities while
                     they do have assets. The debtors have no interest in "trafficking in
                     corporate shells." Once the entities have distributed their assets in
                     accordance with the plan, and are reduced to corporate shells, there
                     is no longer any need to protect them. . . . The readily available
                     solution, therefore, is to afford those entities not permanent
                     injunctive relief, but rather temporary injunctive relief that will
                     remain in effect only as long as those entities hold assets. . . . The
                     plan has thus been revised to so provide that the relief afforded to
                     the debtors and the Wind Down Estates is temporary rather than
                     permanent. The Court is satisfied that this is precisely the type of
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                     interstitial, gap-filling authority that § 105(a) was intended to
                     authorize.

 Id. at *6-7.

           28.       The State Court Action is enjoined by the Plan Injunction until such time as the

 Plan Administrator has liquidated all the Debtors’ Assets and distributed them pursuant to the

 Plan. As is set forth in Goldberg Dec. II, while the Plan Administrator has made substantial

 progress, he has not liquidated all of the Debtor’s Assets or distributed them under the Plan.

           29.       Furthermore, this Court already approved the Plan Injunction in connection with

 confirmation, and Movants, who had notice of the bankruptcy proceeding on or about April 26,

 2023, did not object to confirmation of the Plan or appeal the Confirmation Order that approved

 the Plan Injunction. See In re Town Sports Int', 2023 U.S. Dist. LEXIS 227402 (denying relief

 from the plan injunction to a pre-petition litigation claimant when the claimant did not object to

 confirmation). Movants cannot rely on that argument now to collaterally attack the Confirmation

 Order.

                                        III.      CONCLUSION

           30.       In short, Movants have failed to establish “cause” to modify the Plan Injunction.

 The damage to the estates of having to incur up to a $1 million in Defense Costs far exceeds the

 harm to the Movants who have produced no evidence at all that their Claim will exceed the $1

 million SIR. And even if it did, why should senior creditors, whose recoveries were bargained

 for pursuant to the confirmed Plan have to pay to fund Movants’ gamble? Movants’ longshot

 attempt to “hit the jackpot” with a claim that exceeds $1 million will come out of the pockets of

 other, senior creditors and may even reduce the recovery to Class 6 General Unsecured Creditors

 (if there is one) in violation of the Plan. Accordingly, the Court should deny the Motion.




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 Dated: April 22, 2024                       PACHULSKI STANG ZIEHL & JONES LLP

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                         EXHIBIT A
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                               Chapter 11

 BED BATH & BEYOND INC., et al.,1                                     Case No. 23-13359 (VFP)

                                   Debtors.                           (Jointly Administered)

                                                                      Hearing Date: May 7, 2024
                                                                                  at 10:00 a.m.


  DECLARATION OF PLAN ADMINISTRATOR MICHAEL GOLDBERG IN SUPPORT
   OF SUPPLEMENTAL OPPOSITION TO AMENDED MOTION FOR RELIEF FROM
             THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362


 Pursuant to 28 U.S.C. § 1746, I, Michael Goldberg, under penalty of perjury, declare as follows:

          1.      I am the Plan Administrator to 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &

 Beyond Inc.)2 and 73 affiliated debtors (the “Debtors”). I give this declaration in support of my


 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby.
 2   Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
     was filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly
     known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833
     DOS ID 315602].
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 Supplemental Opposition (the “Supplemental Opposition”) to the Amended Motion for Relief from

 the Automatic Stay Pursuant to 11 U.S.C. § 362 and Request for Waiver of 14 Day Stay Imposed

 by Bankruptcy Rule 4001(a)(3) [Docket No. 2723] (the “Amended Motion”) filed on behalf of

 Penelope and Joseph Duczkowski (“Movants”).3

          2.        Except as otherwise indicated, the statements in this declaration are based on: (a)

 my personal knowledge of the Debtors’ business operations since my appointment as Plan

 Administrator; (b) my review of relevant documents including the Amended Motion; (c)

 information provided to me by, or discussions with, members of my management team, other

 employees, or the Debtors’ other advisors; and/or (d) my general experience and knowledge. I am

 authorized to submit this declaration. If called upon to testify, I can and will testify competently

 as to the facts set forth herein.

          3.        A true and correct copy of the Notice of Suggestion in Bankruptcy filed in the State

 Court Action is attached as Exhibit 1.

          4.        A true and correct copy of the Notice of Dismissal in the State Court Action is

 attached as Exhibit 2.

          5.        A true and correct copy of the Proof of Claim filed by Movants is attached as

 Exhibit 3.

          6.        The Debtors are their own insurer for all personal injury claims under $1 million.

 The general liability policy that is applicable to the Duczkowski Claim is GL 4062767 (the

 “Policy”) with Safety National Casualty Corporation (“Safety National”). The Policy was assumed




 3 Capitalized terms that are not defined in this Declaration have the meaning given to them in the Supplemental
     Opposition.

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 by the Debtors pursuant to the Plan, and the Confirmation Order imposes upon me, as Plan

 Administrator, certain duties of cooperation with Safety National.

          7.        Pursuant to a Self-Insured Retention Endorsement (the “SIR Endorsement”), the

 Policy has a $1 million per occurrence self-insured retention (the “SIR”). The SIR includes

 Defense Costs.

          8.        A true and correct copy of the SIR Endorsement is attached as Exhibit 4.

          9.        Historically, the Debtors were required to pay all legal expenses, other defense

 costs (experts, et cetera) and judgments or settlement amounts up to the $1 million SIR before

 Safety National paid anything under the SIR Policy. Safety National did not “front” Defense Costs

 and then seek reimbursement from the Debtors.

          10.       I am informed and believe that from 2012-2020 (the years for which the personal

 injury cases were fairly developed and might provide an accurate predictor of costs associated with

 cases that were pending on the Petition Date), the Debtors paid $12.14 million in attorney’s fees

 related to personal injury claims, or an average of $1.52 million per year. During that time, only 3

 cases exceeded the $1 million SIR (inclusive of Defense Costs and settlement/judgment amounts).

          11.       A true and correct copy of the Case Management Order issued in the State Court

 Action is attached as Exhibit 5.

          12.       If the Court grants relief from the Plan Injunction to permit the State Court Action

 to move forward, I will have choose whether to (a) defend the case (which will, absent settlement,

 involve motion practice, discovery, pretrial proceedings and trial), causing the estates to incur tens

 or even hundreds of thousands of dollars in attorneys’ fees; or (b) not defend the case in which

 case, either (i) Movants will take a default judgement against the Debtors (exposing the estates to

 a claim by Safety National that it has breached the terms of the Policy); or (ii) Safety National will


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 step in to defend and it may then assert an administrative claim against the Debtors.4 Under any

 possible scenario, the estates risk being drained for the benefit of two individuals who hold, at

 best, a disputed, unliquidated Class 6 General Unsecured Claim.

          13.       Each dollar that I spend in Defense Costs is a dollar that is contractually obligated

 to senior creditors under the Waterfall Recovery mechanism in confirmed Plan. Moreover, should

 the I be able to collect sufficient Assets to make even a de minimis distribution to Holders of

 Allowed Class 6 General Unsecured Creditors, their pro rata recoveries will also be diminished

 by the money that the estates have had to spend in Defense Costs. Why should other creditors pay

 for Movants attempt to hit-the-jackpot by getting an over-the-SIR judgment, especially where, as

 here, as I previously noted, the estates may well be administratively insolvent. See Declaration of

 Michael Goldberg in Support of Motion for Order Extending Period to Object to Claims [Docket

 No. 2906], 5-6 (“Goldberg Dec. II”) (“Absent a significant reduction in the Asserted

 Administrative Claims and meaningful recoveries added to the Shared Proceeds Pool, under the

 distribution waterfall set forth in the Plan, it is unlikely that Allowed Administrative Claims will

 be paid in full.”).

          14.       If the Court grants the requested relief, my staff and I will have to spend time and

 incur expenses to respond to and defend against the State Court Action as we are trying to wind-

 down the Debtors and make distributions to creditors.

          15.       Finally, granting relief from the Plan Injunction to Movants will embolden other

 personal injury claimants to seek relief which will expose the estates to tens or hundreds of

 thousands of dollars in Defense Costs. I am informed and believe that on the Petition Date,




 4 I do not concede Safety National’s interpretation of the Policy or the SIR Endorsement and I reserve all rights,
     arguments, claims and defenses under the Policy and the SIR Endorsement.

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 approximately 55 personal injury cases were being litigated against the Debtors, 53 of which

 requested damages within the SIR of $1 million and two of which requested damages in excess of

 $1 million.

          16.       For these reasons and for the arguments set forth in the Supplemental Opposition,

 I ask the Court to deny the Amended Motion.



 I declare under penalty of perjury that the foregoing statements are true and correct to the best of

 my knowledge, information and belief.


 Dated: April 22, 2024                             /s/ Michael Goldberg
                                                  By: Michael Goldberg
                                                  In His Capacity as Plan Administrator to 20230930-
                                                  DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond
                                                  Inc.) and 73 affiliated debtors




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                         EXHIBIT 1
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  April 26, 2023                                                                     Robert Fodera, Esq.
                                                                                     973.735.1465 (direct)
                                                                                    718.496.7501 (mobile)
                                                                           Robert.Fodera@wilsonelser.com


 Clerk of the Court
 Superior Court, Union County
 2 Broad Street
 Elizabeth, New Jersey 07201

         Re:    NOTICE OF BANKRUPTCY
                Penelope Duczkowski, et ano v. Bed Bath & Beyond, Inc.
                Docket No.: UNN-L-580-22
                File Number: 19823-00187

 Dear Sir/Madam:

 This firm represents Defendant Bed Bath & Beyond Inc. (“Defendant”) with respect to the above-
 referenced matter.

 Please be advised that on April 23, 2023, Defendant filed a voluntary Chapter 11 petition for
 bankruptcy in the United States Bankruptcy Court for the District of New Jersey under Case No.
 23-13359-VFP, thereby imposing an automatic stay pursuant to 11 U.S.C. § 362(a).

 Enclosed herein please find a copy of the filed Chapter 11 bankruptcy petition along with a Notice
 of Filing of Bankruptcy Petition on behalf of Defendant Bed Bath & Beyond, Inc. only. Please
 advise if anything further is needed.

 Thank you very much for your attention and courtesies.

 Respectfully submitted,
 Wilson Elser Moskowitz Edelman & Dicker LLP

 Robert Fodera
 Robert Fodera, Esq.

 RF/lv
 Encl.




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 WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP
 Gina Calabria, Esq. (Attorney I.D. No.: 29752002)
 Robert Fodera, Esq. (Attorney I.D. No.: 048531998)
 7 Giralda Farms
 Madison, New Jersey 07940
 Tel: (973) 624-0800 * Fax: (973) 624-0808
 Attorneys for Defendant Bed Bath & Beyond Inc.
 File No.: 19823-00187
 PENELOPE DUCZKOWSKI AND JOSEPH                  : SUPERIOR COURT OF NEW JERSEY
 DUCZKOWSKI, w/h,                                : LAW DIVISION: UNION COUNTY
                                                 : DOCKET NO.: UNN-L-0580-22
                         Plaintiffs,             :
        v.                                       :             Civil Action
                                                 :
 BED BATH & BEYOND, INC.,                        :
                                                 :
                         Defendants.             :
                                                 :


  NOTICE OF FILING OF BANKRUPTCY PETITION ON BEHALF OF DEFENDANT,
    BED BATH & BEYOND, INC., THEREBY IMPOSING AN AUTOMATIC STAY
                       PURSUANT TO 11 U.S.C. § 362

         Defendant Bed Bath & Beyond Inc., by and through the undersigned counsel, hereby

 provides notice of the filing of a Voluntary Petition for Bankruptcy pursuant to Chapter 11 of the

 United States Bankruptcy Code on April 23, 2023, and pursuant to 11 U.S.C. § 362, an automatic

 stay of all proceedings as against Defendant Bed Bath & Beyond Inc., in the action above.

         A true and correct copy of the Voluntary Petition for Bankruptcy is attached hereto as

 Exhibit “A.”

         Accordingly, as a result of the Bankruptcy filing, this action is stayed as against Bed Bath

 & Beyond Inc. in accordance with 11 U.S.C. § 362.

                           WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP
                           Attorneys for Defendant Bed Bath & Beyond Inc.
                           By:       /s/Robert Fodera
                                    Robert Fodera, Esq.

 Dated: April 26, 2023
                                                  1

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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Bed Bath & Beyond Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              1         1   –      2     2     5      0       4      8     8
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       650 Liberty Avenue
                                       Number               Street                                    Number         Street


                                                                                                      P.O. Box
                                       Union, New Jersey 07083
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Union County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.bedbathandbeyond.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Bed Bath & Beyond Inc.                                              Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4422 (Home Furnishings Stores)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☒      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Bed Bath & Beyond Inc.                                            Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      District of New Jersey
   List all cases. If more than 1,                                                                                 When            04/23/2023
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                      Number          Street



                                                                                      City                                 State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☐     1,000-5,000                      ☒     25,001-50,000
    creditors (on a                  ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor            Bed Bath & Beyond Inc.                                              Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         04/23/2023
                                                               MM/ DD / YYYY


                                               /s/                                                                Holly Etlin
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Financial Officer and Chief
                                                       Restructuring Officer




18. Signature of attorney                      /s/ Michael D. Sirota                                          Date        04/23/2023
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Michael D. Sirota
                                               Printed name
                                               Cole Schotz P.C.
                                               Firm name
                                               Court Plaza North, 25 Main Street
                                               Number                 Street
                                                                                                                         New
                                               Hackensack                                                               Jersey          07601
                                               City                                                                   State               ZIP Code

                                               (201) 489-3000                                                         msirota@coleschotz.com
                                               Contact phone                                                              Email address
                                               014321986                                           New Jersey
                                               Bar number                                          State




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Official Form 201A (12/15)

                                              UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF NEW JERSEY

                                                                           )
     In re:                                                                )       Chapter 11
                                                                           )
     BED BATH & BEYOND INC.,                                               )       Case No. 23-___________(___)
                                                                           )
                                      Debtor.                              )
                                                                           )
          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

          1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
      number is   0-20214

         2. The following financial data is the latest available information and refers to the debtor’s condition on
      August 27, 2022/November 26, 2022


           (a)   Total assets                                                  $    4,401,426,000
           (b)   Total debts (including debts listed in 2.c., below)           $    5,200,069,000
           (c)   Debt securities held by more than 500 holders                      3
                                                                                                              Approximate
                                                                                                              number of
                                                                                                              holders:
           secured ☐        unsecured ☒        subordinated      ☐     $ 284,391,000                          3,650
           secured ☐        unsecured ☒        subordinated      ☐     $ 225,000,000                          4,125
           secured ☐        unsecured ☒        subordinated      ☐     $ 675,010,000                          2,175
           secured ☐        unsecured ☐        subordinated      ☐     $
           secured ☐        unsecured ☐        subordinated      ☐     $


           (d)   Number of shares of preferred stock                                                          180
           (e)   Number of shares of common stock                                                             739,056,836 1


          Comments, if any:    Debt securities in section 2(c) are as of August 27, 2022. All other information is as of
      November 26, 2022, the date of the Company’s last quarterly filing.



          3. Brief description of debtor’s business: An omni-channel retailer offering a wide assortment or merchandise in the
      home, baby, beauty and wellness markets and operates under the names Bed Bath & Beyond, buybuy BABY and Harmon,
      Harmon Face Values or Face Values.

           4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
      voting securities of debtor:
      N/A




1
     Total outstanding preferred stock in section 2(d) and common stock in section 2(e) reflects the latest available, unaudited
     information and is based solely on the Debtor’s records.
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     Fill in this information to identify the case:
                                                                                     ,
     United States Bankruptcy Court for the:
                                District of New Jersey
                                            (State)                                                                  ☐ Check if this is an
     Case number (if known):                              Chapter     11                                                 amended filing


                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
    States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States Code.
    The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
    case of Bed Bath & Beyond Inc.

•     Bed Bath & Beyond Inc.                          •   Bed Bath & Beyond of Manhattan, Inc.        •   Harmon of Hanover, Inc.
•     Alamo Bed Bath & Beyond Inc.                    •   Bed Bath & Beyond of Opry Inc.              •   Harmon of Hartsdale, Inc.
•     BBB Canada LP Inc.                              •   Bed Bath & Beyond of Overland Park Inc.     •   Harmon of Manalapan, Inc.
•     BBB Value Services Inc.                         •   Bed Bath & Beyond of Palm Desert Inc.       •   Harmon of Massapequa, Inc.
•     BBBY Management Corporation                     •   Bed Bath & Beyond of Paradise Valley Inc.   •   Harmon of Melville, Inc.
•     BBBYCF LLC                                      •   Bed Bath & Beyond of Pittsford Inc.         •   Harmon of New Rochelle, Inc.
•     BBBYTF LLC                                      •   Bed Bath & Beyond of Portland Inc.          •   Harmon of Newton, Inc.
•     Bed Bath & Beyond of Annapolis, Inc.            •   Bed Bath & Beyond of Rockford Inc.          •   Harmon of Old Bridge, Inc.
•     Bed Bath & Beyond of Arundel Inc.               •   Bed Bath & Beyond of Towson Inc.            •   Harmon of Plainview, Inc.
•     Bed Bath & Beyond of Baton Rouge Inc.           •   Bed Bath & Beyond of Virginia Beach Inc.    •   Harmon of Raritan, Inc.
•     Bed Bath & Beyond of Birmingham Inc.            •   Bed Bath & Beyond of Waldorf Inc.           •   Harmon of Rockaway, Inc.
•     Bed Bath & Beyond of Bridgewater Inc.           •   Bed Bath & Beyond of Woodbridge Inc.        •   Harmon of Shrewsbury, Inc.
•     Bed Bath & Beyond of California Limited
                                                      •   bed 'n bath Stores Inc.                     •   Harmon of Totowa, Inc.
      Liability Company
•     Bed Bath & Beyond of Davenport Inc.             •   Buy Buy Baby of Rockville, Inc.             •   Harmon of Wayne, Inc.
•     Bed Bath & Beyond of East Hanover Inc.          •   Buy Buy Baby of Totowa, Inc.                •   Harmon of Westfield, Inc.
•     Bed Bath & Beyond of Edgewater Inc.             •   Buy Buy Baby, Inc.                          •   Harmon of Yonkers, Inc.
•     Bed Bath & Beyond of Falls Church, Inc.         •   BWAO LLC                                    •   Harmon Stores, Inc.
•     Bed Bath & Beyond of Fashion Center, Inc.       •   Chef C Holdings LLC                         •   Liberty Procurement Co. Inc.
•     Bed Bath & Beyond of Frederick, Inc.            •   Decorist, LLC                               •   Of a Kind, Inc.
•     Bed Bath & Beyond of Gaithersburg Inc.          •   Deerbrook Bed Bath & Beyond Inc.            •   One Kings Lane LLC
•     Bed Bath & Beyond of Gallery Place L.L.C.       •   Harmon of Brentwood, Inc.                   •   San Antonio Bed Bath & Beyond Inc.
•     Bed Bath & Beyond of Knoxville Inc.             •   Harmon of Caldwell, Inc.                    •   Springfield Buy Buy Baby, Inc.
•     Bed Bath & Beyond of Lexington Inc.             •   Harmon of Carlstadt, Inc.
•     Bed Bath & Beyond of Lincoln Park Inc.          •   Harmon of Franklin, Inc.
•     Bed Bath & Beyond of Louisville Inc.            •   Harmon of Greenbrook II, Inc.
•     Bed Bath & Beyond of Mandeville Inc.            •   Harmon of Hackensack, Inc.
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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY

                                                         )
     In re:                                              )     Chapter 11
                                                         )
     BED BATH & BEYOND INC.,                             )     Case No. 23-___________(___)
                                                         )
                              Debtor.                    )     (Joint Administration Requested)
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS 1

                                                                        Type of Equity      Percentage of
              Equity Holder             Address of Equity Holder
                                                                          Security 2         Equity Held
                  N/A                              N/A                        N/A                 N/A




 1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
        Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
        equity as of the date of commencement of the chapter 11 case. By the Debtors’ Motion for Entry of
        Interim and Final Orders (I) Authorizing the Debtors to (A) File A Consolidated List of the Debtors’ 30
        Largest Unsecured Creditors (B) File A Consolidated List of Creditors in Lieu of Submitting A Separate
        Mailing Matrix for Each Debtor, (C) Redact Certain Personally Identifiable Information, (D) Waiving the
        Requirement to File A List of Equity Holders and Provide Notices Directly to Equity Security Holders,
        and (II) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting a waiver of
        the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.

 2      Outstanding warrants are not reflected in ownership.
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                      )
  In re:                                              )    Chapter 11
                                                      )
  BED BATH & BEYOND INC.,                             )    Case No. 23-___________(___)
                                                      )
                          Debtor.                     )    (Joint Administration Requested)
                                                      )

                                CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, there are
 no corporations, other than a government unit, that directly or indirectly own 10% or more of any class of
 the debtor’s equity interests.
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    Fill in this information to identify the case:

    Debtor name:                    Bed Bath & Beyond Inc, et al.
    United States Bankruptcy Court for the ___District of New Jersey
                                                  (State)
    Case number (If known):                                                                                                                      ☐ Check if this is an
                                                                                                                                                 amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders1                               12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
        Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
            address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                            example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              debts, bank          disputed        secured, fill in total claim amount and
                                                                                                 loans,                            deduction for value of collateral or setoff to
                                                                                             professional                          calculate unsecured claim.
                                                                                             services, and                          Total      Deduction         Unsecured claim
                                                                                             government                            claim, if   for value
                                                                                               contracts)                          partially       of
                                                                                                                                   secured     collateral
                                                                                                                                               or setoff
                                                CLAYTON COLQUITT
            BNY MELLON                          (412)-236-5807
    1
            500 ROSS ST 12TH FLOOR              CLAYTON.COLQUITT@BNYMELLON.                 UNSECURED
            PITTSBURGH, PA 15262                COM                                           BONDS                                                          $1,184,694,000.00

            PERSONALIZATIONMALL                 ROBERT TURNER
    2
            51 SHORE DR                         (630)-910-6000                                 TRADE
            BURR RIDGE, IL 60527                ROBERTT@PMALL.COM                             PAYABLE                                                           $11,095,721.42

            INTERSOFT DATA LABS INC             RALPH LIUZZO
    3
            1330 W FULTON MARKET                (410)-461-4723                                 TRADE
            CHICAGO, IL 60607                   RALPH.LIUZZO@INTSOF.COM                       PAYABLE                                                           $6,836,763.63
            FEDERAL HEATH SIGN
            COMPANY LLC                         SUSAN ALDRIDGE
    4
            P.O. BOX 678203                     (800)-342-2597                                 TRADE
            TAMPA, FL 33626                     SALDRIDGE@FEDERALHEATH.COM                    PAYABLE                                                           $6,770,268.26

            KDM POPSOLUTIONS GROUP              BILL ZIMMERMAN
    5
            10450 MEDALLION                     (513)-769-3500                                 TRADE
            CINCINNATI, OH 45241                B.ZIMMERMAN@KDMPOP.COM                        PAYABLE                                                           $6,641,012.24
            COMMISSION JUNCTION INC
            530 E. MONTECITO STREET             SOPHIE RAMOS
    6
            #106                                (805)-971-3037                                 TRADE
            SANTA BARBARA, CA 93103             CJAR@CJ.COM                                   PAYABLE                                                           $6,162,076.79
                                                ROBERT GIOVINO
            IDX                                 (800)-939-4170
    7
            101 RIVER RIDGE                     ROBERT.GIOVINO@IDXCORPORATI                    TRADE
            JEFFERSONVILLE, IN 47130            ON.COM                                        PAYABLE                                                           $4,920,884.34




1
          On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
          respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
          or characterization of any claim at a later date.

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                                                                18
    Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
        address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                        example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                          debts, bank          disputed        secured, fill in total claim amount and
                                                                                             loans,                            deduction for value of collateral or setoff to
                                                                                         professional                          calculate unsecured claim.
                                                                                         services, and                          Total      Deduction         Unsecured claim
                                                                                         government                            claim, if   for value
                                                                                           contracts)                          partially       of
                                                                                                                               secured     collateral
                                                                                                                                           or setoff


        NATIONAL TREE COMPANY               DONNA CYRIL
8
        2 COMMERCE DRIVE                    (800)-280-8733                                 TRADE
        CRANFORD, NJ 07016                  DONNA@NATIONALTREE.COM                        PAYABLE                                                           $4,527,134.54
        NORTH AMERICAN
        CORPORATION                         KRISTIE SCHNIER
9
        2101 CLAIRE COURT                   (847)-832-4000                                 TRADE
        GLENVIEW, IL 60025                  KSCHNIER@NA.COM                               PAYABLE                                                           $4,384,027.43
                                            ANDREA GRASSI
        KEECO LLC                           (212)-685-9077
10
        30736 WIEGMAN ROAD                  ANDREAG@GRASSIASSOCIATESINC.                   TRADE
        HAYWARD, CA 94544                   COM                                           PAYABLE                                                           $4,231,687.55

        FEDEX                               GREGORY DI SESSA
11
        P.O. BOX 371461                     (201)-787-0091                                 TRADE
        PITTSBURGH, PA 15250                GJDISESSA@FEDEX.COM                           PAYABLE                                                           $3,884,415.89
                                            CINDY TREAGER
        TEMPUR-PEDIC                        (859)-455-2483
12
        2 COMMERCE DRIVE                    CINDY.TREAGER@TEMPURSEALY.C                    TRADE
        CRANFORD, NJ 07016                  OM                                            PAYABLE                                                           $3,733,616.10
        FACEBOOK, INC.
        15161 COLLECTIONS CENTER            MARVIN ROBLES
13
        DRIVE                               (512)-543-2942                                 TRADE
        CHICAGO, IL 60693                   IDOAN@FACEBOOK.COM                            PAYABLE                                                           $3,428,867.98

        ARTSANA USA INC                     STEVE RUBIN
14
        1826 WILLIAM PENN WAY               (877)-424-4226                                 TRADE
        LANCASTER, PA 17601                 STEVE.RUBIN@ARTSANA.COM                       PAYABLE                                                           $3,323,738.80
                                            CAROL MARKS
        LIFETIME BRANDS INC                 (609)-241-7321
15
        150 EAST 58TH STREET                CAROL.MARKS@LIFETIMEBRANDS.C                   TRADE
        NEW YORK, NY 10155                  OM                                            PAYABLE                                                           $3,279,438.28

        KEPLER GROUP LLC                    HANNAH GROBMYER
16
        P O BOX 419271                      (646)-524-6896                                 TRADE
        BOSTON, MA 02241                    HGROBMYER@KEPLERGRP.COM                       PAYABLE                                                           $3,260,123.50
                                            VANNESCIA WATKINS-BANKS
        WILLIAM CARTER CO.                  (646)-677-0866
17
        3438 PEACHTREE ROAD NE              VANNESCIA.WATKINS-                             TRADE
        ATLANTA, GA 30326                   BANKS@CARTERS.COM                             PAYABLE                                                           $3,143,426.77

        TESTRITE PRODUCTS CORP.             CLAUDIA VEGA
18
        1900 S BURGUNDY PLACE               (909)-605-9899                                 TRADE
        ONTARIO, CA 91761                   CLAUDIA.V@TESTRITE-USA.COM                    PAYABLE                                                           $3,051,808.69

        VERIZON BUSINESS NETWORK            NORMA MCEWAN
19
        ONE VERIZON WAY                     (866)-925-0077                                 TRADE
        BASKING RIDGE, NJ 07920             NORMA.MCEWAN@VERIZON.COM                      PAYABLE                                                           $2,962,792.95

        Pinterest, Inc.                     COLE REUTTER
20
        651 BRANNAN ST                      (415)-62-7100                                  TRADE
        SAN FRANCISCO, CA 94107             AR@PINTEREST.COM                              PAYABLE                                                           $2,839,480.57

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 Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
     address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                     example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                       debts, bank          disputed        secured, fill in total claim amount and
                                                                                          loans,                            deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and                          Total      Deduction         Unsecured claim
                                                                                      government                            claim, if   for value
                                                                                        contracts)                          partially       of
                                                                                                                            secured     collateral
                                                                                                                                        or setoff


      BRIDGETREE LLC                     MICHELE BOVE
21
      133 NORTH MAIN STREET              (704)-604-8708                                 TRADE
      MOORESVILLE, NC 28115              MBOVE@BRIDGETREE.COM                          PAYABLE                                                           $2,658,031.85
      CITRUS AD INTERNATIONAL            STEPHANIE RICHMOND
      INC                                (813)-451-4794
22
      P.O. BOX 7410138                   STEPHANIE.RICHMOND@CITRUSAD.                   TRADE
      Chicago, IL 60674                  COM                                           PAYABLE                                                           $2,639,065.54
      KEURIG GREEN MOUNTAIN
      INC.                               ANDREW ARCHAMBAULT
23
      PO BOX 414159                      (781)-460-4507                                 TRADE
      BOSTON, MA 02241                   ARCHAMBAULT@KEURIG.COM                        PAYABLE                                                           $2,637,919.04

      THE KNOT WORLDWIDE INC             ASHLEY BERGEN
24
      PO BOX 32177                       (877)-331-7752                                 TRADE
      NEW YORK, NY 10087                 ABERGEN@THEKNOTWW.COM                         PAYABLE                                                           $2,628,538.02
      SHARKNINJA SALES
      COMPANY                            CAROL WEINBERG
25
      89 A STREET                        (855)-427-5127                                 TRADE
      NEEDHAM, MA 02494                  CWEINBERG@SHARKNINJA.COM                      PAYABLE                                                           $2,622,349.48

      LENOX CORPORATION                  CYNTHIA LAFFERTY
26
      1414 RADCLIFFE STREET              (732)-642-7332                                 TRADE
      BRISTOL, PA 19007                  CYNTHIA_LAFFERTY@LENOX.COM                    PAYABLE                                                           $2,578,451.71
                                         DEBORAH COLEY
      BLUE YONDER INC                    (480)-308-3000
27
      15059 N SCOTTSDALE RD              DEBORAH.COLEY@BLUEYONDER.CO                    TRADE
      SCOTTSDALE, AZ 85254               M                                             PAYABLE                                                           $2,483,355.00

      F 3 METALWORX INC                  LORENA UNTALAN
28
      12069 EAST MAIN ROAD               (716)-439-8771                                 TRADE
      NORTH EAST, PA 16428               LUNTALAN@F3METALWORX.COM                      PAYABLE                                                           $2,480,004.13

      MADIX INC.                         SCOTT SCHERBAK
29
      500 AIRPORT RD                     (800)-527-2129                                 TRADE
      TERRELL, TX 75160                  SSCHERBA@MADIXINC.COM                         PAYABLE                                                           $2,453,870.05
      GRANITE                            LISA BURTON
      TELECOMMUNICATIONS LLC             (866)-847-5500
30
      P.O. BOX 983119                    LMARIEBURTON@GRANITENET.CO                     TRADE
      BOSTON, MA 02298                   M                                             PAYABLE                                                           $2,413,661.88




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                         OMNIBUS RESOLUTION OF THE
                BOARD OF DIRECTORS, OF BED BATH & BEYOND INC.

                                          April 22, 2023

          The requisite members of the board of directors (the “Board”) of Bed Bath & Beyond
  Inc., a New York corporation (“Bed Bath & Beyond” or the “Company”), organized and
  existing under the internal laws of New York, as set forth in the Company’s charter of
  incorporation, hereby take the following actions and adopt the following resolutions pursuant
  to the Company’s bylaws and the applicable laws of the state or country of incorporation of the
  Company.

  1.      Resolutions

          WHEREAS, the Board, having reviewed and considered (i) the filing of a voluntary
  petition for relief for the Company under the provisions of chapter 11 of title 11 of the United
  States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant to
  applicable law and in accordance with the requirements of the Company’s governing documents
  and applicable law (the “Restructuring Matters”); and (ii) to the extent applicable, authorizing
  entry into and performance under the DIP Facility Documents as defined herein,

        WHEREAS, on February 2, 2023, pursuant to Article IV, Section 1 of the Bylaws of
  the Company, the Board previously appointed Holly Etlin as Interim Chief Financial Officer of
  the Company,

          WHEREAS, pursuant to Article IV, Section 1 of the Bylaws of the Company, the Board
  deems it advisable and in the best interests of the Company and its shareholders to appoint Holly
  Etlin as Chief Financial Officer,

          WHEREAS, the Board having reviewed and considered the materials presented by the
  management of the Company and the Company’s financial and legal advisors, and having had
  adequate opportunity to consult such persons regarding the materials presented, obtain
  additional information, and to fully consider each of the strategic alternatives available to the
  Company,

          NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the articles of
  incorporation and applicable governing documents of the Company, the undersigned do hereby
  adopt the following resolutions:

          Chapter 11 Filing

          RESOLVED, in the business judgment of the Board it is desirable and in the best
  interest of the Company, the stakeholders, the creditors, and other parties in interest, that the
  Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy Petitions”)
  under the provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy
  Court for the District of New Jersey, and any other petition for relief or recognition or other
  order that may be desirable under applicable law in the United States, and, in accordance with
  the requirements in the Company’s governing documents and applicable law, hereby consents
  to, authorizes and approves, the filing of the Bankruptcy Petitions;
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           RESOLVED, any director or other duly appointed officer of the Company (collectively,
  the “Authorized Persons”), which shall include the Chief Restructuring Officer, the Chief
  Executive Officer, Chief Financial Officer, General Counsel, any Executive Vice President, or
  any Senior Vice President, shall be, and each of them individually hereby is, authorized and
  directed for and on behalf of the Company to take all actions (including, without limitation, to
  negotiate and execute any documents, certificates, supplemental agreements, and instruments)
  to act as signatory and attorney on behalf of the Company in respect of the Restructuring Matters
  and/or any persons to whom such Authorized Persons and/or officers delegate certain
  responsibilities, be, and hereby are, authorized to execute and file on behalf of the Company all
  petitions, schedules, lists, and other motions, papers, or documents, and to take any and all
  action that they deem necessary or proper to obtain such relief, including, but not limited to,
  any action necessary or proper to maintain the ordinary course operations of the Company’s or
  any of its subsidiary’s businesses.

          Appointment of Chief Restructuring Officer

         RESOLVED, that Holly Etlin be, and hereby is, appointed to serve as the Chief
  Restructuring Officer of each Company;

        RESOLVED, the Chief Restructuring Officer shall have such authority with respect to
  the Companies as is described in that certain engagement letter dated as of April 21, 2023, by
  and among the Company and AP Services, LLC (the “Engagement Letter”);

          RESOLVED, that Ms. Etlin shall be and is hereby authorized to manage the chapter 11
  cases and court-supervised liquidation and sale process, and shall report directly to and serve at
  the direction of an ad hoc committee of the following directors of the Boards, Carol Flaton,
  Pamela Corrie, Jonathan Foster, and Joshua Schechter, in accordance with the terms and
  conditions of the Engagement Letter and these resolutions;

          RESOLVED, that the Engagement Letter is hereby approved, and any Authorized
  Person, acting alone or with one or more Authorized Persons, be, and each of them hereby is,
  authorized, empowered, and directed to execute, deliver, and perform each Company’s
  obligations under the Engagement Letter on behalf of the Companies and in its name with such
  changes therein or additions, deletions, or modifications thereto as the Authorized Person
  signing the same may approve, such approval may be conclusively evidenced by such
  Authorized Person’s execution and delivery of the Engagement Letter.

          Appointment of Chief Financial Officer

          RESOLVED, that Holly Etlin be, and hereby is, appointed and elected to serve as an
  officer of the Company and to hold the position of Chief Financial Officer;

           RESOLVED, that Ms. Etlin shall serve in accordance with the Bylaws, as shall be in
  effect from time to time, with such other authority and responsibility as is customary for such
  position and title and shall act in such capacity until her successor is duly elected and qualified
  or, if earlier, until her successor has been duly elected or until her death, resignation or removal;
  and

          RESOLVED, that, as an officer of the Company, Ms. Etlin is authorized to sign and
  deliver any agreement in the name of the Company and to otherwise obligate the Company in
  any respect relating to matters of the business of the Company, and to delegate such authority
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  in her discretion, within the policies of the Company as approved from time to time by the
  Board.

          Retention of Professionals

         RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
  empowered, and directed to employ on behalf of the Company: (i) the law firm of Kirkland &
  Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as bankruptcy
  counsel; (ii) the law firm of Cole Schotz as local bankruptcy counsel; (iii) Lazard as investment
  banker; (iv) AlixPartners LLP as restructuring advisor; (v) Deloitte as tax advisor; (vi) Kroll
  Restructuring Administration as claims and noticing agent; and (vii) any other legal counsel,
  accountants, financial advisors, restructuring advisors or other professionals the Authorized
  Persons deem necessary, appropriate or advisable; each to represent and assist the Company in
  carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
  and any applicable law (including, but not limited to, the law firms filing any pleadings or
  responses); and in connection therewith, the Authorized Persons, be, and hereby are authorized,
  empowered and directed, in accordance with the terms and conditions hereof, to execute
  appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
  applications for authority to retain such services; and

         RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
  empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
  pleadings, and other papers, and to perform such further actions and execute such further
  documentation that the Authorized Persons in their absolute discretion deem necessary,
  appropriate or desirable in accordance with these resolutions.

          Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

           RESOLVED, to the extent applicable to the Companies, in the business judgment of
  the Authorizing Bodies it is desirable and in the best interest of the Companies, their
  stakeholders, their creditors, and other parties in interest to obtain the benefits of (i) the use of
  cash collateral, as such term is defined in section 363(a) of the Bankruptcy Code (“Cash
  Collateral”), which is security for certain of the Companies’ prepetition secured lenders (the
  “Prepetition Secured Lenders”) under certain credit facilities by and among the Companies,
  the guarantors party thereto, and the lenders party thereto; and (ii) the incurrence of debtor-in-
  possession financing obligations (“DIP Financing”) by entering into that certain Superpriority
  Senior Secured Debtor-in-Possession Term Loan Credit Agreement (together with all exhibits,
  schedules, and annexes thereto, as amended, amended and restated, supplemented, or otherwise
  modified from time to time, the “DIP Credit Agreement”) by and among Bed Bath & Beyond,
  certain of the Companies, the financial institutions from time to time party thereto and their
  successors and assigns (collectively the “DIP Lenders”), Sixth Street Specialty Lending, Inc.
  in its capacity as administrative agent for the DIP Lenders (in such capacity and together with
  any successor or assigns, the “DIP Agent”) on the terms set forth therein;

          RESOLVED, in order to use and obtain the benefits of DIP Financing and the Cash
  Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
  provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
  Protection Obligations”) as documented in proposed interim and final orders (collectively, the
  “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent
  that each Company is required to obtain consent from the Prepetition Secured Lenders to enter
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  into any of the DIP Facility Documents, as defined herein, such consent has been (or will be)
  obtained from the Consenting Creditors;

          RESOLVED, in the business judgment of the Authorizing Bodies, the form, terms, and
  provisions of the DIP Credit Agreements and such other agreements, certificates, instruments,
  receipts, petitions, motions, or other papers or documents required to consummate the
  transaction considered by the Financing Orders (collectively, the “DIP Facility Documents”),
  substantially in the forms circulated to the Authorizing Bodies, and each Company’s execution,
  delivery and performance of its obligations under the DIP Facility Documents, including
  without limitation the grant of security interests under the DIP Facility Documents, and any
  borrowings or guaranty therewith, be, and hereby are, in all respects, authorized and approved:

        RESOLVED, each Company will obtain benefits from the incurrence of the borrowings
  under the DIP Credit Agreement and the other obligations under the DIP Credit Agreement and
  the other Loan Documents (as defined in the DIP Credit Agreement) which are necessary and
  convenient to the conduct, promotion, and attainment of the business of such Company;

        RESOLVED, to the extent applicable, each Company shall be, and is hereby, authorized
  to enter into the DIP Facility Documents and incur the obligations thereunder (the “DIP
  Obligations”), including the borrowing of the loans under the DIP Credit Agreement, and other
  obligations related to the DIP Financing and to undertake any and all related transactions on
  substantially the same terms as contemplated under the DIP Facility Documents, including
  granting liens on and security interests in its assets, including the Collateral (as defined in the
  DIP Credit Agreement), to the DIP Agent, and each of the Authorized Persons be, and hereby
  are, authorized, empowered, and directed in the name of, and on behalf of, each Company to
  execute deliver, and perform all of the obligations and the transactions contemplated under each
  of the DIP Facility Documents in the name and on behalf of each Company, with such changes,
  additions, and modifications thereto as such Authorized Person shall approve, with such
  approval to be conclusively evidenced by such Authorized Person’s execution and delivery
  thereof;

         RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
  and on behalf of each Company, to take all such further actions, or cause all such further actions
  to be taken and to execute and deliver all such further agreements, documents, instruments,
  certificates recordings, and filings, in the name and on behalf of each Company, as in the
  determination of such Authorized Person shall be necessary, proper, or advisable in order to
  fully carry out the intent and accomplish the purposes of the foregoing resolutions and to
  consummate the transactions contemplated thereby, such authority to be conclusively evidenced
  by the execution of any document or the taking of any such action by such Authorized Person;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
  and on behalf of each Company, to enter into any guarantees as described or contemplated by
  the DIP Facility Documents or any other documents, certificates, instruments, agreements,
  intercreditor agreements, any extension amendment, any incremental agreement, or any other
  amendment required to consummate the transactions contemplated by the DIP Facility
  Documents and perform its obligations thereunder and to guarantee the payment and
  performance of the DIP Obligations of the Companies and any other guarantor thereunder;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized,
  empowered, and directed in the name of, and on behalf of, each Company to seek authorization
  to incur the DIP Obligations and approval to use Cash Collateral pursuant to the Financing
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  Orders, and any Authorized Person be, and hereby is, authorized, empowered, and directed to
  negotiate, execute, and deliver any and all agreements, instruments, or documents, by or on
  behalf of the Company, necessary to implement the postpetition financing, including the
  Adequate Protection Obligations to the Prepetition Secured Lenders in accordance with
  section 363 of the Bankruptcy Code, as well as any additional or further agreements for entry
  into the DIP Facility Documents and the use of Cash Collateral in connection with the chapter
  11 case, which agreements may require the Companies to grant adequate protection and liens
  to the Prepetition Secured Lenders and each other agreement, instrument, or document to be
  executed and delivered in connection therewith, by or on behalf of the Companies pursuant
  thereto or in connection therewith, all with such changes therein and additions thereto as any
  Authorized Person approves, such approval to be conclusively evidenced by the taking of such
  action or by the execution and delivery thereof;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized, directed,
  and empowered, in the name of, and on behalf of, the Company to take such actions and
  negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
  performance of, each of the transactions contemplated by the DIP Facility Documents and such
  other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
  required documents to which the Company is or will be party or any order entered into in
  connection with the chapter 11 case (together with the DIP Facility Documents and the
  Financing Orders, collectively, the “Financing Documents”) and to incur and pay or cause to
  be paid all related fees and expenses, with such changes, additions and modifications thereto as
  an Authorized Person executing the same shall approve;

         RESOLVED, the Company, as debtors and debtors-in-possession under the Bankruptcy
  Code be, and hereby are, authorized, empowered, and directed to incur any and all obligations
  and to undertake any and all related transactions on substantially the same terms as
  contemplated under the Financing Documents, including granting liens on its assets to secure
  such obligations; and

          RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
  empowered, and directed in the name of, and on behalf of, the Company, to execute and deliver
  any amendments, supplements, modifications, renewals, replacements, consolidations,
  substitutions, and extensions of the postpetition financing or any of the Financing Documents
  or to do such other things which shall in his or her sole business judgment be necessary,
  desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to the
  foregoing resolutions, which determination shall be conclusively evidenced by his or her or
  their execution thereof.

         Further Actions and Prior Actions

          RESOLVED, the Company is hereby authorized to authorize (and the Company hereby
  authorizes) any direct or indirect subsidiary of the Company or any entity of which such
  Company or any subsidiary of such Company is the sole member, general partner, managing
  member, or equivalent manager, as applicable, to take each of the actions described in these
  resolutions or any of the actions authorized in these resolutions, and none of the resolutions
  contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
  any such subsidiary or such Company’s interest therein (including without limitation, any
  automatic dissolution, divestiture, dissociation, or like event under applicable law).
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         RESOLVED, in addition to the specific authorizations heretofore conferred upon the
  Authorized Persons, the Authorized Persons, either individually or as otherwise required by the
  Company’s governing documents and applicable law, be, and each of them hereby is, authorized
  to execute, acknowledge, deliver, and file any and all agreements, certificates, instruments,
  powers of attorney, letters, forms, transfer, deeds and other documents on behalf of the
  Company relating to the Restructuring Matters.

          RESOLVED, each of the Authorized Persons (and their designees and delegates) be,
  and hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
  or cause to be taken any all such other and further action, and to execute, acknowledge, deliver,
  and file any and all such agreements, certificates, instruments, and other documents and to pay
  all expenses, including but not limited to filing fees, in each case as in such Authorized Person’s
  or Authorized Persons’ absolute discretion, shall be necessary, appropriate, or desirable in order
  to fully carry out the intent and accomplish the purposes of the resolution adopted herein.

          RESOLVED, the Board has received sufficient notice of the actions and transactions
  relating to the matters contemplated by the foregoing resolutions, as may be required by the
  governing documents of the Company, or hereby waives any right to have received such notice.

          RESOLVED, all acts, actions, and transactions relating to the matters contemplated by
  the foregoing resolutions done in the name of and on behalf of the Company, which acts would
  have been approved by the foregoing resolutions except that such acts were taken before the
  adoption of these resolutions, are hereby in all respects approved, confirmed and ratified as the
  true acts and deeds of the Company with the same force and effect as if each such act,
  transaction, agreement, or certificate had been specifically authorized in advance by resolution
  of the Board.

          RESOLVED, any Authorized Person be, and each of them hereby is, authorized to do
  all such other acts, deeds and other things as the Company itself may lawfully do, in accordance
  with its governing documents and applicable law, howsoever arising in connection with the
  matters above, or in furtherance of the intentions expressed in the foregoing resolutions,
  including, but not limited to, the negotiation, finalization, execution and delivery of any other
  agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
  other documents whatsoever as the individual acting may in his/her absolute and unfettered
  discretion approve, deem or determine necessary, appropriate or advisable, such approval,
  deeming or determination to be conclusively evidenced by said individual taking such action or
  the execution thereof.



                                   *       *      *       *       *
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    Fill in this information to identify the case and this filing:

   Debtor Name          Bed Bath & Beyond Inc.

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        04/23/2023                                  /s/
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Holly Etlin
                                                                                   Printed name
                                                                                   Chief Financial Officer and Chief Restructuring Officer”
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         EXHIBIT 3
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 United States Bankruptcy Court, District of New Jersey (Newark)

   Bed Bath & Beyond Inc.                   Alamo Bed Bath & Beyond Inc.                BBB Canada LP Inc.                        BBB Value Services Inc.
 (Case No. 23‐13359)                      (Case No. 23‐13360)                         (Case No. 23‐13361)                       (Case No. 23‐13362)
   BBBY Management Corporation              BBBYCF LLC                                  BBBYTF LLC                                bed ‘n bath Stores Inc.
 (Case No. 23‐13363)                      (Case No. 23‐13364)                         (Case No. 23‐13365)                       (Case No. 23‐13396)
   Bed Bath & Beyond of Annapolis, Inc.     Bed Bath & Beyond of Arundel Inc.           Bed Bath & Beyond of Baton Rouge Inc.     Bed Bath & Beyond of Birmingham
 (Case No. 23‐13366)                      (Case No. 23‐13367)                         (Case No. 23‐13368)                       Inc.
                                                                                                                                (Case No. 23‐13369)
   Bed Bath & Beyond of Bridgewater         Bed Bath & Beyond of California             Bed Bath & Beyond of Davenport Inc.       Bed Bath & Beyond of East Hanover
 Inc.                                     Limited Liability Company                   (Case No. 23‐13372)                       Inc.
 (Case No. 23‐13370)                      (Case No. 23‐13371)                                                                   (Case No. 23‐13373)
   Bed Bath & Beyond of Edgewater Inc.      Bed Bath & Beyond of Falls Church, Inc.     Bed Bath & Beyond of Fashion Center,      Bed Bath & Beyond of Frederick,
 (Case No. 23‐13374)                      (Case No. 23‐13375)                         Inc.                                      Inc.
                                                                                      (Case No. 23‐13376)                       (Case No. 23‐13377)
   Bed Bath & Beyond of Gaithersburg         Bed Bath & Beyond of Gallery Place         Bed Bath & Beyond of Knoxville Inc.       Bed Bath & Beyond of Lexington
 Inc.                                     L.L.C.                                      (Case No. 23‐13380)                       Inc.
 (Case No. 23‐13378)                      (Case No. 23‐13379)                                                                   (Case No. 23‐13381)
   Bed Bath & Beyond of Lincoln Park         Bed Bath & Beyond of Louisville Inc.       Bed Bath & Beyond of Mandeville Inc.      Bed, Bath & Beyond of Manhattan, Inc.
 Inc.                                     (Case No. 23‐13383)                         (Case No. 23‐13384)                       (Case No. 23‐13397)
 (Case No. 23‐13382)
   Bed Bath & Beyond of Opry Inc.           Bed Bath & Beyond of Overland Park          Bed Bath & Beyond of Palm Desert Inc.     Bed Bath & Beyond of Paradise
 (Case No. 23‐13385)                      Inc.                                        (Case No. 23‐13387)                       Valley Inc.
                                          (Case No. 23‐13386)                                                                   (Case No. 23‐13388)
   Bed Bath & Beyond of Pittsford Inc.      Bed Bath & Beyond of Portland Inc.          Bed Bath & Beyond of Rockford Inc.        Bed Bath & Beyond of Towson Inc.
 (Case No. 23‐13389)                      (Case No. 23‐13390)                         (Case No. 23‐13391)                       (Case No. 23‐13392)
   Bed Bath & Beyond of Virginia Beach      Bed Bath & Beyond of Waldorf Inc.           Bed Bath & Beyond of Woodbridge Inc.      Buy Buy Baby of Rockville, Inc.
 Inc.                                     (Case No. 23‐13394)                         (Case No. 23‐13395)                       (Case No. 23‐13398)
 (Case No. 23‐13393)
   Buy Buy Baby of Totowa, Inc.             Buy Buy Baby, Inc.                          BWAO LLC                                  Chef C Holdings LLC
 (Case No. 23‐13399)                      (Case No. 23‐13400)                         (Case No. 23‐13401)                       (Case No. 23‐13402)
   Decorist, LLC                            Deerbrook Bed Bath & Beyond Inc.            Harmon of Brentwood, Inc.                 Harmon of Caldwell, Inc.
 (Case No. 23‐13403)                      (Case No. 23‐13404)                         (Case No. 23‐13405)                       (Case No. 23‐13406)
   Harmon of Carlstadt, Inc.                Harmon of Franklin, Inc.                    Harmon of Greenbrook II, Inc.             Harmon of Hackensack, Inc.
 (Case No. 23‐13407)                      (Case No. 23‐13408)                         (Case No. 23‐13409)                       (Case No. 23‐13410)
   Harmon of Hanover, Inc.                  Harmon of Hartsdale, Inc.                   Harmon of Manalapan, Inc.                 Harmon of Massapequa, Inc.
 (Case No. 23‐13411)                      (Case No. 23‐13412)                         (Case No. 23‐13413)                       (Case No. 23‐13414)
   Harmon of Melville, Inc.                 Harmon of New Rochelle, Inc.                Harmon of Newton, Inc.                    Harmon of Old Bridge, Inc.
 (Case No. 23‐13415)                      (Case No. 23‐13416)                         (Case No. 23‐13417)                       (Case No. 23‐13418)
   Harmon of Plainview, Inc.                Harmon of Raritan, Inc.                     Harmon of Rockaway, Inc.                  Harmon of Shrewsbury, Inc.
 (Case No. 23‐13419)                      (Case No. 23‐13420)                         (Case No. 23‐13421)                       (Case No. 23‐13422)
   Harmon of Totowa, Inc.                   Harmon of Wayne, Inc.                       Harmon of Westfield, Inc.                 Harmon of Yonkers, Inc.
 (Case No. 23‐13423)                      (Case No. 23‐13424)                         (Case No. 23‐13425)                       (Case No. 23‐13426)
   Harmon Stores, Inc.                      Liberty Procurement Co. Inc.                Of a Kind, Inc.                           One Kings Lane LLC
 (Case No. 23‐13427)                      (Case No. 23‐13428)                         (Case No. 23‐13429)                       (Case No. 23‐13430)
    San Antonio Bed Bath & Beyond           Springfield Buy Buy Baby, Inc.
 Inc.(Case No. 23‐13431)                  (Case No. 23‐13432)




Claim Number: 18851
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 Proof of Claim                                                                                                                                              04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

 Part 1:     Identify the Claim

1. Who is the current           Penelope Duczkowski and Joseph Duczkowski
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                               
                               ✔ No

   someone else?                Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?            Pansini, Mezrow & Davis
   Federal Rule of              1525 Locust Street
   Bankruptcy Procedure
   (FRBP) 2002(g)
                                15th Floor
                                1525 Locust St., 15th Floor Philadelphia, PA 19103

                                Philadelphia
                                PA
                                19102


                               Contact phone    215-732-5555                                               Contact phone

                               Contact email    kstaniskis@pansinilaw.com                                  Contact email


4. Does this claim amend       
                               ✔
                                 No
   one already filed?           Yes. Claim number on court claims registry (if known)                                          Filed on
                                                                                                                                           MM   / DD       / YYYY



5. Do you know if anyone       
                               ✔ No
   else has filed a proof       Yes. Who made the earlier filing?
   of claim for this claim?

   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:            4        4      2       2
    debtor?



7. How much is the claim?          $ 3,00,000.00                                 . Does this amount include interest or other charges?
                                                                                  
                                                                                  ✔ No

                                                                                   Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                             charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.
                                    Personal injury claim.


                                                                         Proof of Claim                                                             page 1
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9. Is all or part of the claim     No
                                  ✔

     secured?                      Yes. The claim is secured by a lien on property.
                                             Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:


                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                             been filed or recorded.)

                                             Value of property:                                $


                                             Amount of the claim that is secured:             $


                                             Amount of the claim that is unsecured: $                                     (The sum of the secured and unsecured
                                                                                                                          amounts should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:                    $



                                             Annual Interest Rate (when case was filed)                   %
                                              Fixed
                                              Variable

10. Is this claim based on a       No
                                  ✔
    lease?
                                   Yes. Amount necessary to cure any default as of the date of the petition.                        $


11. Is this claim subject to a    
                                  ✔ No
    right of setoff?
                                   Yes. Identify the property:

12. Is all or part of the claim   
                                  ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?            Yes. Check one:                                                                                              Amount entitled to priority

    A claim may be partly              Domestic support obligations (including alimony and child support) under
    priority and partly                   11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
    nonpriority. For example,
    in some categories, the            Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
    law limits the amount                 personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
    entitled to priority.
                                       Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                          bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                          11 U.S.C. § 507(a)(4).
                                       Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                   $

                                       Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                       $

                                       Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.                           $

                                      * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.




                                                                         Proof of Claim                                                                  page 2
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13. Is all or part of the       
                                ✔ No
    claim entitled to
    administrative priority      Yes. Indicate the amount of your claim arising from the value of any goods received                         $ ____________________
    pursuant to                         by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?              which the goods have been sold to the Debtor in the ordinary course of such
                                        Debtor’s business. Attach documentation supporting such claim.


14. Is all or part of the       
                                ✔ No
    claim being asserted
    as an administrative         Yes. Indicate the amount of your claim for costs and expenses of administration of
    expense claim?                      the estates pursuant to 503(b), other than section 503(b)(9), or 507(a)(2). Attach
                                        documentation supporting such claim. If yes, please indicate when this claim was
                                        incurred:

                                                     On or prior to June 27, 2023:                                                           $ ____________________

                                                     After June 27, 2023:                                                                    $ ____________________
                                                        Total Administrative Expense Claim Amount:                                            $ ____________________



 THIS SECTION SHOULD ONLY BE USED BY CLAIMANTS ASSERTING AN ADMINISTRATIVE EXPENSE CLAIM ARISING AGAINST ONE OF THE
 ABOVE DEBTORS FOR POSTPETITION ADMINISTRATIVE CLAIMS. THIS SECTION SHOULD NOT BE USED FOR ANY CLAIMS THAT ARE NOT
 OF A KIND ENTITLED TO PRIORITY IN ACCORDANCE WITH 11 U.S.C. §§ 503(B) AND 507(A)(2); PROVIDED, HOWEVER; THIS SECTION
 SHOULD NOT BE USED FOR CLAIMS PURSUANT TO SECTION 503(B)(9) OF THE BANKRUPTCY CODE.




 Part 3:    Sign Below

 The person completing          Check the appropriate box:
 this proof of claim must
 sign and date it.                     I am the creditor.
 FRBP 9011(b).                  
                                ✔       I am the creditor’s attorney or authorized agent.
 If you file this claim                I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.                            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                and correct.
 A person who files a
 fraudulent claim could be      I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                                                            08/09/2023

                                8________________________________________________________________________
                                        Signature

                                Name of the person who is completing and signing this claim:
                                                      Steven M. Mezrow, Esquire
                                Name
                                                      First name                           Middle name                            Last name

                                Title
                                                      Attorney, Pansini, Mezrow & Davis
                                Company
                                                      Identify the corporate servicer as the company if the authorized agent is a servicer.
                                                      1525 Locust St., 15th Fl.
                                Address
                                                      Number            Street
                                                      Philadelphia                             PA                          19102
                                                      City                                                         State          ZIP Code

                                Contact phone         215-732-5555                                                 Email           kstaniskis@Pansinilaw.com


                                                                         Proof of Claim                                                              page 3
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Additional Noticing Addresses (if provided):

 Additional Address 1
 Name:
 Address1:
 Address2:
 Address3:
 Address4:
 City:
 State:
 Postal Code:
 Country:

 Contact Phone:
 Contact Email:
 ______________________________________________________________________________________

 Additional Address 2
 Name:
 Address1:
 Address2:
 Address3:
 Address4:
 City:
 State:
 Postal Code:
 Country:
 Contact Phone:
 Contact Email:




Additional Supporting Documentation Provided
   o
   ✔    Yes
   o    No
---------------------------------------------------------------------------------------------------------------
Attachment Filename:
TS - COMPLAINT.pdf
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 PANSINI, MEZROW & DAVIS
 BY: MICHAEL O. PANSINI, ESQUIRE
 I.D. #44455
 BY: STEVEN M. MEZROW, ESQUIRE
 I.D. #43746
 BY: DAVID B. PIZZICA, ESQUIRE
 I.D. #308937
 1525 Locust Street, 15th Floor
 Philadelphia, PA 19102
 (215) 732-5555                              Attorneys for Plaintiffs
 ______________________________________________________________________
 PENELOPE DUCZKOWSKI AND         :     SUPERIOR COURT OF NEW JERSEY
 JOSEPH DUCZKOWSKI, w/h          :     UNION COUNTY
 1028 Moore Road                 :     CIVIL DIVISION
 Thorofare, NJ 08086             :
                                 :     No.
              vs.                :
                                 :
 BED, BATH & BEYOND, INC.        :
 650 Liberty Avenue              :
 Union, NJ 07083                 :
 ______________________________________________________________________

                            CIVIL ACTION COMPLAINT - NOTICE TO DEFEND
                                       2S - PREMISES LIABILITY
 You have been sued in court. If you wish to defend against         Le han demandado a usted en la corte. Si usted quiere
 the claims set forth in the following pages, you must take         defenderse de estas demandas expuestas en las paginas
 action within twenty (20) days after this complaint and notice     siguientes, usted tiene viente (20) dias, de plazo al partir de
 are served, by entering a written appearance personally or by      la fecha de la demanda y la notification. Hace falta asentar
 an attorney and filing in writing with the court your defenses     una comparencia escrita o en forma escrita sus defensas o
 or objections to the claims set forth against you. You are         sus objeciones a las demandas en contra de su persona.
 warned that if you fail to do so the case may proceed without      Sea avisado que si usted no se defiende, la corte tomara
 you and a judgment may be entered against you by the court         medidas y puede continua la demanda en contra suya sin
 without further notice for any money claimed or for any other      previo aviso o notificacion. Ademas, la corte puede dicidir a
 claim or relief requested by the plaintiff. You may lose money     favor del demandante y requiere que usted cumpla con todas
 or property or other rights important to you.                      las provisiones de esta demanda. Usted puede perder
                                                                    dinero o sus propiedades u otros derechos importantes para
 You should take this paper to your lawyer at once. If you do       usted.
 not have a lawyer or cannot afford one, go to or telephone the
 office set forth below to find out where you can get legal help.   Lleve esta demanda a un abogado inmediatamente. Si no
                                                                    tiene abogado o si no tiene el dinero suficiente de telefono a
               Philadelphia Bar Association                         la oficina cuya direccion se encuentra escrita abajo para
           Lawyer Referral and Information Service                  averiguar donde se puede conseguir asistencia legal.
                   One Reading Center
             Philadelphia, Pennsylvania 19107                                 Asociacion de Liceneados de Filadelphia
                      (215) 238-1701                                         Servicio de Referencia e Informacion Legal
                                                                                        One Reading Center
                                                                                   Filadelfia, Pennsylvania 19107
                                                                                            (215) 238-1701
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 PANSINI, MEZROW & DAVIS
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 BY: DAVID B. PIZZICA, ESQUIRE
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 1525 Locust Street, 15th Floor
 Philadelphia, PA 19102
 (215) 732-5555                              Attorneys for Plaintiffs
 ______________________________________________________________________
 PENELOPE DUCZKOWSKI AND         :     SUPERIOR COURT OF NEW JERSEY
 JOSEPH DUCZKOWSKI, w/h          :     UNION COUNTY
 1028 Moore Road                 :     CIVIL DIVISION
 Thorofare, NJ 08086             :
                                 :     No.
              vs.                :
                                 :
 BED, BATH & BEYOND, INC.        :
 650 Liberty Avenue              :
 Union, NJ 07083                 :
 ______________________________________________________________________

                                       COMPLAINT

       1.     Plaintiff, PENELOPE DUCZKOWSKI, is an adult individual residing at 1028

 Moore Road, Thorofare, NJ 08096.

       2.     Plaintiff, JOSEPH DUCZKOWSKI, is an adult individual residing at 1028

 Moore Road, Thorofare, NJ 08096.

       3.     Defendant, BED, BATH & BEYOND, INC., is a corporation organized and

 existing under and by virtue of the laws of the Commonwealth of Pennsylvania which

 regularly does business in and about the City and County of Philadelphia. Upon

 information and belief, at all times relevant hereto, Defendant was and is an incorporated

 company organized under the laws of the State of New York with its principal place of

 business at 650 Liberty Avenue, Union, New Jersey.

       4.     At all times material hereto, the Defendant, BED, BATH AND BEYOND,
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 INC., owned and, by and through its agents, servants, workmen, and/or employees acting

 in the course of their employment and within the scope of their authority, maintained,

 supervised, and possessed a Bed, Bath and Beyond store located at 1755 Deptford

 Center Road, Deptford, NJ 08096 (“the premises”).

        5.     On or about November 12, 2020, Plaintiff, PENELOPE DUCZKOWSKI was

 a business invitee, and for a period of time prior thereto, there existed on the aforesaid

 premises displayed merchandise, including but not limited to woks, which were

 negligently displayed causing a danger, menace, nuisance, trap, and/or hazard to

 persons lawfully upon the aforesaid premises, including Plaintiff.

        6.     On or about November 12, 2020, the Plaintiff, PENELOPE DUCZKOWSKI,

 lawfully present on the aforesaid premises, was caused to be injured as a result of falling

 merchandise with the aforementioned defective and hazardous condition(s) then existing

 upon the aforesaid premises, resulting in serious and permanent injuries (“the incident”).

        7.     Defendant, BED, BATH AND BEYOND, INC., by and through its agents,

 servants, workmen, and/or employees acting in the course of their employment and within

 the scope of their authority, knew or should have known of the existence of the

 aforementioned defects prior to the incident and Defendant, BED, BATH AND BEYOND,

 INC., was obliged to correct, remedy, repair and/or eliminate said defects.

                               COUNT I
                             NEGLIGENCE
             PENELOPE DUCZKOWSKI v. BED, BATH AND BEYOND, INC.

        8.     The averments of preceding paragraphs are incorporated herein and made

 a part hereof by reference.


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        9.     The carelessness and negligence of the Defendant, BED, BATH AND

 BEYOND, INC., by and through its agents, servants, workmen, and/or employees,

 consisted of the following:

               (a)    failing to properly inspect the said premises and
                      displays of merchandise;

               (b)    failing to properly display merchandise;

               (c)    failing to warn customers of the defective and/or
                      hazardous condition(s) of which they were aware or
                      should have been aware;

               (d)    failing to correct, remedy, repair, and/or eliminate the
                      defective and/or hazardous condition(s) of which they
                      were aware or should have been aware;

               (e)    failing to maintain the premises in a condition which
                      would protect and safeguard persons lawfully upon the
                      premises and prevent them from falling;

               (f)    allowing and committing the aforesaid defect(s) to
                      remain on the aforesaid premises so as to constitute a
                      menace, danger, nuisance, trap and/or hazard to
                      persons lawfully upon the premises; and,

               (g)    otherwise failing to exercise due and proper care under
                      the circumstances.

        10.    By reason of the aforesaid negligence of the Defendant as hereinbefore

 alleged, the Plaintiff, PENELOPE DUCZKOWSKI, suffered severe and permanent

 injuries, exacerbation or pre-existing foot/toe conditions, and nervous shock and

 aggravation and/or exacerbation of all known and unknown preexisting medical

 conditions. The Plaintiff, PENELOPE DUCZKOWSKI, suffered internal injuries of an

 unknown nature; she suffered severe aches, pains, mental anxiety and anguish, and a

 severe shock to her entire nervous system, and other injuries the full extent of which are

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 not yet known. She has in the past and will in the future undergo severe pain and suffering

 as a result of which she has been in the past and will in the future be unable to attend to

 her usual duties and occupation, all to her great financial detriment and loss.       The

 Plaintiff, PENELOPE DUCZKOWSKI, believes and therefore avers that her injuries are

 permanent in nature.

        11.    As a result of the aforesaid occurrence, the Plaintiff, PENELOPE

 DUCZKOWSKI, has been compelled, in order to effectuate a cure for the aforesaid

 injuries, to expend large sums of money for medicine and medical attention and may be

 required to expend additional sums for the same purposes in the future.

        12.    As a result of the aforesaid occurrence, the Plaintiff, PENELOPE

 DUCZKOWSKI, has been prevented from attending to her usual and daily activities and

 duties, and may be so prevented for an indefinite time in the future, all to her great

 detriment and loss.

        13.    As a result of the aforesaid occurrence, the Plaintiff, PENELOPE

 DUCZKOWSKI, has suffered physical pain, mental anguish and humiliation and she may

 continue to suffer same for an indefinite period of time in the future.

        WHEREFORE, Plaintiff, PENELOPE DUCZKOWSKI, demands damages of the

 Defendant, BED, BATH AND BEYOND, INC., herein in a sum in excess of Fifty

 Thousand Dollars ($50,000.00), plus delay damages, costs, interests, and other damages

 permitted by law.




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                                 COUNT II
                                PER QUOD
               JOSEPH DUCZKOWSKI v. BED, BATH AND BEYOND, INC.

         14.   The averments of preceding paragraphs are incorporated herein and made

 a part hereof by reference.

         15.   Plaintiff, JOSEPH DUCZKOWSKI, is the spouse of PENELOPE

 DUCZKOWSKI, and as such has incurred expenses in the treatment of his spouse's

 injuries, and may in the future be caused to incur additional expense as he has in the

 past.

         16.   As a result of the aforesaid occurrence, the Plaintiff, JOSEPH

 DUCZKOWSKI, to his great damage and loss, has been deprived of the society,

 companionship, services and assistance of his spouse, to which he is legally entitled.

         WHEREFORE, Plaintiff, JOSEPH DUCZKOWSKI, demands damages of the

 Defendant, BED, BATH AND BEYOND, INC., herein in a sum in excess of Fifty

 Thousand Dollars ($50,000.00), delay damages, costs, interests, and other damages

 permitted by law.

                           DESIGNATION OF TRIAL COUNSEL

         PLEASE TAKE NOTICE that Michael O. Pansini, Esquire, is hereby designated

 as trial counsel in the within cause of action.

                                       JURY DEMAND

         PLEASE TAKE NOTICE that Plaintiffs hereby demand a trial by jury as to all

 issues.




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                                 INTERROGATORIES

       PLEASE TAKE NOTICE that Plaintiffs demand answers to Uniform Interrogatories

 C and C(2) pursuant to the Rules of Court.



                                               Respectfully submitted,

                                               PANSINI, MEZROW & DAVIS

 DATE: February 25, 2022                 BY:    /s/ Michael O. Pansini
                                               MICHAEL O. PANSINI, ESQUIRE
                                               STEVEN M. MEZROW, ESQUIRE
                                               DAVID B. PIZZICA, ESQUIRE
                                               Attorneys for Plaintiffs
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                         Civil Case Information Statement
 Case Details: UNION | Civil Part Docket# L-000580-22

 Case Caption: DUCZKOWSKI PENELOPE VS BED, BATH                   Case Type: PERSONAL INJURY
 & BEYOND                                                         Document Type: Complaint with Jury Demand
 Case Initiation Date: 02/25/2022                                 Jury Demand: YES - 12 JURORS
 Attorney Name: MICHAEL O PANSINI                                 Is this a professional malpractice case? NO
 Firm Name: PANSINI LAW GROUP                                     Related cases pending: NO
 Address: 1525 LOCUST ST 15TH FL                                  If yes, list docket numbers:
 PHILADELPHIA PA 19102                                            Do you anticipate adding any parties (arising out of same
 Phone: 2157325555                                                transaction or occurrence)? NO
 Name of Party: PLAINTIFF : Duczkowski, Penelope
 Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Penelope Duczkowski? NO

 (if known): None
                                                                  Are sexual abuse claims alleged by: Joseph Duczkowski? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 02/25/2022                                                                                        /s/ MICHAEL O PANSINI
 Dated                                                                                                            Signed
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Electronic Proof of Claim Confirmation: 3335-1-RVPRM-672680694

Claim Electronically Submitted on (UTC) : 2023-08-09T15:17:49.009Z

Submitted by: Bed Bath & Beyong
             kstaniskis@pansinilaw.com
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                         EXHIBIT 4
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              SELF-INSURED RETENTION ENDORSEMENT
This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
         LIQUOR LIABILITY COVERAGE FORM
         OWNERS & CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
         RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
         POLLUTION LIABILITY COVERAGE FORM


                                                  SCHEDULE

Self-Insured Retention                 $       1,000,000                                Per “Occurrence”
Self-Insured Retention                 $       N/A                                      Per “Claim”
Aggregate Self-Insured Retention
                                       $       N/A
Amount (if applicable)

                                                     CHANGE
I.    The Coverage sections of the policy pertaining to BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
      PERSONAL AND ADVERTISING INJURY LIABILITY, MEDICAL PAYMENTS, LIQUOR LIABILITY and
      SUPPLEMENTARY PAYMENTS are modified to apply the additional provisions noted below.

      A. SELF-INSURED RETENTION

         Our obligation to pay damages, medical expenses and “defense costs” to, or on behalf of, the “insured”
         applies only to that portion of the “Ultimate Net Loss” in excess of the applicable Self-Insured Retention
         shown in the above Schedule, subject to any below described Aggregate Self-Insured Retention Amount.

         After you have paid the amount of the applicable Self-Insured Retention, we will pay on your behalf, or
         reimburse you for paying such damages, medical expenses or “defense costs” in excess of the
         applicable Self-Insured Retention. Our payment of damages and medical expenses shall be subject to
         the Limits of Insurance shown in the Declarations for the Coverage Form. The amount that would
         otherwise be payable by us as damages, medical expenses or “defense costs” under the above
         described LIABILITY COVERAGES, will be reduced by the amount of the Self-Insured Retention.

         1. SELF-INSURED RETENTION PER OCCURRENCE

             If a Per Occurrence Self-Insured Retention amount is shown in the above Schedule, it is a condition
             precedent to our liability under the Coverage Form that you make actual payment of all damages,
             medical expenses and “defense costs” for each “occurrence” or offense until you have paid the Self-
             Insured Retention amount and “defense costs” equal to the applicable Per Occurrence amount
             shown in the Schedule, subject to the provisions of the “Aggregate Self-Insured Retention Amount”
             provision noted below, if applicable.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Occurrence amount is the most you will pay for Self-
          Insured Retention amounts and “defense costs” arising out of any one “occurrence” or offense,
          regardless of the number of persons or organizations making claims or bringing suits because of the
          occurrence or claim.

      2. SELF-INSURED RETENTION PER CLAIM

          If a Per Claim Self-Insured Retention amount is shown in the above Schedule, it is a condition
          precedent to our liability under the Coverage Form that you make actual payment of all damages,
          medical expenses and “defense costs” for each claim until you have paid the Self-Insured Retention
          amount and “defense costs” equal to the Per Claim amount shown in the Schedule, subject to the
          provisions of the “Aggregate Self-Insured Retention Amount” provision noted below, if applicable.

          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Claim amount is the most you will pay for Self-Insured
          Retention amounts and “defense costs” sustained by any one person or organization as a result of
          any one “occurrence” or offense.

      3. AGGREGATE SELF-INSURED RETENTION AMOUNT

          The Aggregate Self-Insured Retention Amount only applies if an Aggregate Self-Insured Retention
          Amount is shown in the above Schedule. If an Aggregate Self-Insured Retention Amount is shown in
          the Schedule, that amount is the most you will pay for all Self-Insured Retention amounts and
          “defense costs” incurred under this policy. The Aggregate Self-Insured Retention Amount applies
          separately to each consecutive annual period and to any remaining period of less than 12 months,
          starting with the beginning of the policy period shown in the Declarations of this policy.

   B. LIMIT OF INSURANCE

      The applicable LIMIT OF INSURANCE provisions apply with the following change:

          The Limit of Insurance applies over the Self-Insured Retention shown in the Schedule.

   C. OUR RIGHT TO REIMBURSEMENT

      With respect to any claim or “suit” under this policy that has been tendered to us and that may exceed
      the applicable Self-Insured Retention amount, we may pay any or all of the Self-Insured Retention
      amount and “defense costs” on your behalf to defend or to effect settlement of such claim or “suit”.
      If we do so, you must promptly reimburse us for our payment.

II. CHANGES IN THE CONDITIONS SECTION OF EACH OF THE ABOVE-LISTED COVERAGE FORMS

   A. The following is added to the BANKRUPTCY Condition:

      Satisfaction of the Self-Insured Retention amounts by you is a condition precedent to our liability for
      amounts in excess of the Self-Insured Retention regardless of insolvency or bankruptcy or inability to pay
      by you. Accordingly, bankruptcy, insolvency, receivership, or any refusal or inability to pay by the
      “insured” or the “insured’s” estate will not operate to:

      1. Deplete or reduce the Self-Insured Retention;
      2. Increase our liability under this policy; or
      3. Relieve us of our obligations under this policy.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        In no event will we assume responsibility or obligations of the “insured”.

   B. The following is added to the DUTIES IN THE EVENT OF AN OCCURRENCE, OFFENSE, INJURY,
      POLLUTION INCIDENT, CLAIM OR SUIT(as applicable to the above-listed Coverage Form) Condition:

        The “insured” must promptly give our authorized representative and our Claims Department a complete
        report of the existence of any claim or “suit” involving the following factors or probabilities:

        1. If the “ultimate net loss” for a claim or “suit” or multiple claims or “suits” arising out of any one
           “occurrence” or offense may, or is likely to, exceed 50% of the Self-Insured Retention; or

        2. If an “occurrence”, offense, claim or “suit” involves:

            a. Death;
            b. Brain or spinal injury;
            c. Amputation;
            d. Loss of use of an arm, eye or leg;
            e. Severe burns involving more than 25% of the body;
            f. Multiple fractures;
            g. Permanent and total disability;
            h. Sexual abuse or molestation;
            i. Significant psychological or neurological involvement;
            j. Severe internal body organ damage or loss;
            k. Severe cosmetic deformity or disfigurement;
            l. A hospital stay of two weeks or longer;
            m. An alleged error or omission of the “insured”, the “insured’s” claims service organization, or us or
               a claim for punitive damages against any of them; or
            n. An actual or potential conflict of interest between the “insured” and us, or between the “insured’s”
               claims service organization and us.

   C.    The following is added to the TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US
         Condition:

         If the “insured” had rights to recover all or part of any payment we have made in excess of the Self-
         Insured Retention, those rights are transferred to us. The “insured” must do nothing after loss to impair
         them. At our request, the “insured” will bring “suit” or transfer those rights to us and help us enforce
         them. Any amounts recovered will first be applied to reimburse us to the extent of our actual payment.

   D. DEFENSE & SETTLEMENT shall be added as follows:

        1. You may not settle any claim or “suit” that exceeds the applicable Self-Insured Retention amount
           without our written permission to do so. If you fail to obtain our written permission, we shall have no
           obligation to provide coverage for that claim or “suit” under this policy.

        2. We will have the right but not the duty to associate ourselves in or assume control of the defense of
           any claim or “suit” which in our sole judgment is likely to exceed the Self-Insured Retention. If we
           avail ourselves of that right, you must cooperate with us. In the event we incur any “defense costs”
           in the exercise of our right to defend any claim or “suit”, you shall not be liable to reimburse us for
           those “defense costs”.




SNGL 024 1111                          Safety National Casualty Corporation                           Page 3 of 6
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         3. We may investigate and settle any claim or “suit” as we consider appropriate both within and in
            excess of the applicable Self-Insured Retention but we shall obtain your consent prior to entering into
            any settlement of a claim or “suit” that is equal to or less than the Self-Insured Retention amount. If,
            however, you do not consent to any settlement within the Self-Insured Retention amount that is
            recommended by us and instead elect to contest the claim or continue with any legal proceedings
            involving the claim, our liability for the claim shall not exceed the amount determined by subtracting
            the Self-Insured Retention amount from the amount for which we recommended settlement, including
            “defense costs” incurred with our consent, to the date of such refusal. Further we shall have no
            liability with respect to such claim if the result of the above calculation is zero or negative. We will
            not continue to defend or settle any claim or “suit” after the Limit of Insurance of the applicable
            coverage has been exhausted by payments of judgments or settlements.

   E.     CLAIMS ADMINISTRATION shall be added as follows:

         You agree to maintain a continuous contract, with an independent claims service administrator approved
         for use by us, at your expense without reimbursement from us, and that such claims service
         administrator will report to us on a monthly basis all claims activity, including identity of claimants and the
         date, type, estimated payments, description and disposition of all claims.

   F.     SELF-INSURED RETENTION REPORTING shall be added as follows:

         You or the authorized claim service administrator must monitor the cumulative Self-Insured Retention
         amounts and “defense costs” incurred during the policy period and report those total amounts to us on a
         quarterly basis. However, regardless of the quarterly reporting requirements, if the total of all incurred
         losses and “defense costs” should, at any time during the policy period, attain a total amount equal to
         75% of the Aggregate Retention amount, you are required to make an immediate report to us of the total
         incurred losses and “defense costs” sustained at that time.

         The required quarterly report must be in a format acceptable to us and shall include a listing of all
         individual losses and “defense costs” incurred as of the date of the report.

         Within forty-five (45) days after the end of the policy term, you must give a listing of all existing claims or
         “suits” within the Self-Insured Retention amounts. Such listing shall include a description of each claim,
         “occurrence” or offense; date of the “occurrence” or offense; and the current status of the claim or “suit”.
         Thereafter and on a quarterly basis, you shall provide an updated status of all claims or suits, paid and
         reserved, until all claims or “suits” are closed and settled.

         Compliance with the reporting requirements set forth above, is a condition precedent to coverage. In the
         event of non-compliance, we shall not be required to establish prejudice resulting from reporting
         noncompliance and shall be automatically relieved of liability with respect to the claim.

   G. MIDTERM CANCELLATION shall be added as follows:

         If an Aggregate Self-Insured Retention Amount is shown in the above Schedule, in the event of a
         midterm cancellation, the Aggregate Self-Insured Retention Amount shall not be subject to any pro rata
         reduction. Such Aggregate Self-Insured Retention Amount will apply as if the policy term had not been
         shortened.

   H. GOOD FAITH shall be added as follows:

         You and we agree that both will strictly observe standards of good faith and fair dealing with respect to
         each other, and that neither will engage in any conduct which would take unfair advantage of the other.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   I.    HOLD HARMLESS AGREEMENT shall be added as follows:

         The “insured” will hold us harmless and indemnify us for any and all damages or attorney fees or other
         costs or expenses which are imposed upon us because of the acts or omissions of the “insured” or of the
         “insured’s” employees, agents or independent contractors in the course of the investigation, settlement or
         defense of any claim or “suit” to which this insurance applies.

   J. REPRESENTATIONS shall be added as follows:

         You agree that the procurement of insurance for all or any part of the Self-Insured Retention amounts
         shown in the above Schedule will cause there to be no coverage under this policy.

   K. DISPUTE RESOLUTION shall be added as follows:

         If we and the “insured” do not agree whether coverage is provided under this policy or this Endorsement,
         or do not agree concerning the timing or amount of settlement of a claim or “suit”, then either party may
         submit the matter to a court of competent jurisdiction or may make a written demand for arbitration.
         Where required by state law, the “insured” shall have the option of instead submitting the matter to a
         court of competent jurisdiction. We have the absolute right to determine when a claim or “suit” should
         be settled and may proceed to settle the claim or “suit” if the “insured” refuses to do so upon our
         demand, or if the “insured” refuses to contribute the amount of the Self-Insured Retention.

         When a matter is submitted for arbitration, we and the “insured” may agree to use one arbitrator. If the
         parties fail to agree on one arbitrator, each party will select an arbitrator. The two arbitrators will select a
         third. If they cannot agree within 30 days, each will name two arbitrators of which the other party will
         decline one, and the final selection will be made by drawing lots. If either party fails to appoint an
         arbitrator within 30 days of receiving written notice, delivered by certified mail, requesting it to do so, the
         requesting party will name both arbitrators. Each party will pay the expenses it incurs and bear the
         expenses of the third arbitrator equally.

         Unless both parties agree otherwise, arbitration will take place in the county in which the address shown
         in the Declarations is located. Local rules of law as to procedure and evidence will apply. A decision
         agreed to by two of the arbitrators will be binding unless state laws do not allow for binding arbitration
         without the consent of the “insured” in which case the decision will be binding unless, upon
         commencement of the arbitration, the “insured” has made written demand for non-binding arbitration. A
         decision rendered in a non-binding arbitration shall not preclude either party from submitting the matter to
         a court of competent jurisdiction following the rendering of such decision. Unless a non-binding decision
         has been elected, upon our request or the request of the “insured”, a judgment based on the majority
         decision of the arbitrators may be entered in any court having jurisdiction.

III. ADDITIONAL DEFINITIONS

   The following are added to the DEFINITIONS Section of each of the above-listed Coverage Forms:

   “Defense Costs” means, with respect to each “occurrence”, offense or claim:

         Expenses directly allocable to specific claims and shall include but not be limited to all Supplementary
         Payments as defined under the policy; all court costs, fees and expenses; costs for all attorneys,
         witnesses, experts, depositions, reported or recorded statements, summonses, service of process, legal
         transcripts or testimony, copies of any public records; alternative dispute resolution; interest; investigative
         services, medical examinations, autopsies, medical cost containment; declaratory judgment, subrogation
         and any other fees, costs or expenses reasonably chargeable to the investigation, negotiation, settlement
         or defense of a claim or a loss under the policy.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   “Ultimate Net Loss” means, with respect to each “occurrence” or offense, the total of:

       1. All sums that the “insured” is legally liable to pay as damages, because of liability to which this
          insurance applies, determined either through final adjudication or through compromise settlement
          with our consent, after making proper deductions for all recoveries; and
       2. All sums that are covered as damages, medical expenses or “defense costs” under the Coverage
          Form.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 03/01/2020                      Policy No. GL 4062767                     Endorsement No.

Insured BED BATH & BEYOND INC.                                                                  Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                               Countersigned By ________________________________




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                         EXHIBIT 5
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                                      /s/ Mark P. Ciarrocca
Unopposed
